          Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 1 of 60 Page ID #:8227



                  1
                      CHRISTINE LEPERA (admitted pro hac vice)
                  2     ctl@msk.com
                      JEFFREY M. MOVIT (admitted pro hac vice)
                  3     jmm@msk.com
                      JACOB D. ALBERTSON (admitted pro hac vice)
                  4     j1a@msk.com
                      MITCHELL SILBERBERG & KNUPP LLP
                  5   437 Madison Avenue, 25th Floor
                      New York, New York 10022
                  6   Telephone: (212) 509-3900
                      Facsimile: (212) 509-7239
                  7
                      AARON M. WAIS (SBN 250671)
                  8     amw@msk.com
                      GABRIELLA A. NOURAFCHAN (SBN 301594)
                  9     gan@msk.com
                      MITCHELL SILBERBERG & KNUPP LLP
                 10   2049 Century Park East, 18th Floor
                      Los Angeles, California 90067
                 11   Telephone: (310) 312-2000
                      Facsimile: (310) 312-3100
                 12
                    GREENBERG TRAURIG, LLP
                 13 VINCENT H. CHIEFFO (SBN 49069)
                    Email: ChieffoV@gtlaw.com
                 14 1840 Century Park East, Suite 1900
                    Los Angeles, CA 90067-2121
                 15 Telephone: 310-586-7700
                    Facsimile: 310-586-7800
                 16 Attorneys for Defendants
                 17                     UNITED STATES DISTRICT COURT
                 18         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                 19 MARCUS GRAY (p/k/a FLAME), et           CASE NO. 2:15-cv-05642-CAS (JCx)
                 20 al.,                                    Honorable Christina A. Snyder
                 21         Plaintiffs,
                                                            MEMORANDUM IN SUPPORT OF
                 22        v.                               DEFENDANTS’ RENEWED
                                                            MOTION FOR JUDGMENT AS A
                 23 KATHERYN    ELIZABETH HUDSON
                    (p/k/a KATY PERRY), et al.,
                                                            MATTER OF LAW OR,
                                                            ALTERNATIVELY, FOR A NEW
                 24                                         TRIAL
                               Defendants.                  (Fed. R. Civ. P. 50(b) and,
                 25                                         alternatively, Rule 59)

                 26                                         Date:    January 27, 2020
                                                            Time:    10:00 a.m.
                 27                                         Ctrm:    8D—8th Fl., First Street
    Mitchell     28                                         Filed:   July 1, 2014
  Silberberg &                                              Trial:   July 17, 2019
   Knupp LLP
11495919.1
                          MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
          Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 2 of 60 Page ID #:8228



                  1                                       TABLE OF CONTENTS
                  2                                                                                                                   Page
                  3 I.     INTRODUCTION ......................................................................................... 10
                  4 II.    THE COURT SHOULD ENTER JUDGMENT AS A MATTER OF
                  5        LAW ON PLAINTIFFS’ COPYRIGHT INFRINGEMENT CLAIM ......... 13
                  6        A.      Rule 50(b) Judgment As A Matter Of Law Standard ......................... 13
                  7
                           B.      No Reasonable Jury Could Have Found “Joyful Noise” And
                  8                “Dark Horse” To Be Substantially Similar Based On The
                                   Undisputed Evidence At Trial ............................................................ 15
                  9
                 10                1.       It Is A Fundamental Tenet Of The Copyright Act That
                                            Commonplace Expression Is Not Copyrightable And May
                 11                         Not Be Monopolized................................................................. 15
                 12
                                   2.       The Substantial Similarity Test Must Be Applied In A
                 13                         Manner Consistent With The Purpose And Policy Of The
                                            Copyright Act ........................................................................... 16
                 14
                 15                3.       A Reasonable Jury Following The Court’s Instructions
                                            Could Not Have Found Substantial Similarity ......................... 20
                 16
                           C.      No Legally Sufficient Evidentiary Basis Supports The Jury’s
                 17
                                   Finding Of Access Based Solely On Plaintiffs’ Claim Of Alleged
                 18                Widespread Dissemination Of “Joyful Noise” ................................... 27
                 19                1.       Plaintiffs’ Mischaracterization Of The Widespread
                 20                         Dissemination Doctrine Must Be Debunked. ........................... 29
                 21                2.       Joyful Noise Was Disseminated, At Most, In A Niche
                                            Market, Was Not Nationally Well Known And Was Not
                 22
                                            Extensively Available To A Large Group On A Wide Scale... 31
                 23
                                   3.       The Evidence Showed That Defendants Did Not Avail
                 24                         Themselves Of The Opportunity To Hear “Joyful Noise” ....... 38
                 25
                           D.      No Legally Sufficient Evidentiary Basis Supports The Jury’s
                 26                Finding That Defendants Did Not Independently Create “Dark
                 27                Horse” ................................................................................................. 40

    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                             2
11495919.1
                          MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
          Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 3 of 60 Page ID #:8229



                  1
                  2                                                                                                                Page
                  3           E.      No Legally Sufficient Evidentiary Basis Supports The Jury’s
                  4                   Finding That The Inclusion Of Ojukwu’s Beat In “Joyful Noise”
                                      Is Part Of A Joint Work of Authorship ............................................... 41
                  5
                              F.      No Legally Sufficient Evidentiary Basis Supports The Jury’s
                  6                   Finding Of Liability As To Multiple Defendants ............................... 44
                  7
                      III.    AS A MATTER OF LAW, PLAINTIFFS FAILED TO REBUT
                  8           DEFENDANTS’ PROOF OF APPORTIONMENT .................................... 45
                  9
                      IV.     AS A MATTER OF LAW, THE JURY SHOULD HAVE DEDUCTED
                 10           CAPITOL’S OVERHEAD AND CALCULATED ITS NET PROFIT
                              AS TOTALING $629,725............................................................................. 48
                 11
                 12 V.        ALTERNATIVELY, THE COURT SHOULD ORDER A NEW TRIAL... 50

                 13           A.      Rule 59 New Trial And Remittitur Standard ...................................... 50
                 14           B.      The Court Should Grant A New Trial On Liability ............................ 52
                 15
                                      1.       The Jury’s Findings Were Against The Clear Weight Of
                 16                            The Evidence ............................................................................ 52
                 17                   2.       Misconduct By Plaintiffs’ Counsel And Witnesses Also
                 18                            Requires A New Trial. .............................................................. 52
                 19           C.      The Court Should Remit The Amount Of The Damages Award ....... 58
                 20 VI.       CONCLUSION ............................................................................................. 59
                 21
                 22
                 23
                 24
                 25
                 26
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                              3
11495919.1
                             MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
          Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 4 of 60 Page ID #:8230



                  1                                         TABLE OF AUTHORITIES
                  2                                                                                                               Page(s)
                  3
                                                                             CASES
                  4
                       Anderson v. Liberty Lobby, Inc.,
                  5      477 U.S. 242 (1986) ........................................................................................... 13
                  6
                    Anheuser-Busch, Inc. v. Natural Beverage Distributors,
                  7   68 F.3d 337 (9th Cir. 1995) ................................................................................ 57
                  8 Apple Computer, Inc. v. Microsoft Corp.,
                  9   35 F.3d 1435 (9th Cir. 1994) ........................................................................ 17, 18
                 10 Archibald v. Cty. of San Bernardino,
                 11    2018 WL 6017032 (C.D. Cal. Oct. 2, 2018) ................................................ 14, 29

                 12 Art Attacks Ink, LLC v. MGA Entm’t Inc.,
                       581 F.3d 1138 (9th Cir. 2009) ...................................................................... 27, 37
                 13
                 14 Batiste v. Island Records Inc.,
                       179 F.3d 217 (5th Cir. 1999) .............................................................................. 43
                 15
                    Batts v. Adams,
                 16    2011 WL 13217923 (C.D. Cal. Feb. 8, 2011) .............................................. 31, 34
                 17
                    Benay v. Warner Bros. Entm’t,
                 18    607 F.3d 620 (9th Cir. 2010) .............................................................................. 21
                 19 Blue Underground Inc. v. Caputo,
                 20    2015 WL 12683972 (C.D. Cal. Mar. 16, 2015) ................................................. 42
                 21 Bouchat v. Baltimore Ravens Football Club,
                 22   346 F.3d 514 (4th Cir.2003) ............................................................................... 48

                 23 Burns v. Imagine Films Entm’t., Inc.,
                      2001 WL 34059379 (W.D.N.Y. Aug. 23, 2001) ................................................ 48
                 24
                 25 Calhoun v. Lillehas Publ’g,
                      298 F.3d 1228 (11th Cir. 2002) .......................................................................... 17
                 26
                    Campbell v. Acuff-Rose Music, Inc.,
                 27
                      510 U.S. 569 ....................................................................................................... 16
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                                 4
11495919.1
                              MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
          Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 5 of 60 Page ID #:8231



                  1                                       TABLE OF AUTHORITIES
                                                                (continued)
                  2
                                                                                                                             Page(s)
                  3
                       Cavalier v. Random House, Inc.,
                  4      297 F.3d 815 (9th Cir. 2002) .............................................................................. 20
                  5
                       City of Cleveland v. Peter Kiewit Sons’ Co.,
                  6       624 F.2d 749 (6th Cir. 1980) .............................................................................. 58
                  7 Cnty. of Suffolk v. Long Island Lighting Co.,
                  8   907 F.2d 1295 (2d Cir. 1990) ............................................................................. 14
                  9 Cream Records Inc. v. Jos. Schlitz Brewing Co.,
                 10    754 F.2d 826 (9th Cir. 1985) .............................................................................. 59

                 11 D & S Redi–Mix v. Sierra Redi–Mix & Contracting Co.,
                       692 F.2d 1245 (9th Cir. 1982) ............................................................................ 51
                 12
                 13 Darrell v. Joe Morris Music Co.,
                       113 F.2d 80 (2d Cir. 1940) (per curiam) ............................................................ 17
                 14
                    Dash v. Mayweather,
                 15
                       731 F.3d 303 (4th Cir. 2013) .............................................................................. 46
                 16
                    Experience Hendrix L.L.C. v. Hendrixlicensing.com Ltd,
                 17    762 F.3d 829 (9th Cir. 2014) ........................................................................ 51, 52
                 18
                    Fahmy v. Jay-Z,
                 19    2015 WL 6394455 (C.D. Cal. Oct. 21, 2015) (Snyder, J.), aff’d,
                       908 F.3d 383 (9th Cir. 2018) .............................................................................. 14
                 20
                 21 Feist Publ’ns, Inc. v. Rural Telephon Serv. Co.,
                       499 U.S. 340 (1991) ..................................................................................... 15, 19
                 22
                    Fenner v. Dependable Trucking Co., Inc.,
                 23
                       716 F.2d 598 (9th Cir. 1983) .............................................................................. 51
                 24
                    Folkens v. Wyland Worldwide, LLC,
                 25    882 F.3d 768 (9th Cir. 2018) .............................................................................. 18
                 26
                    Ford v. Ray,
                 27    130 F. Supp. 3d 1358 (W.D. Wash. 2015) ......................................................... 43
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                              5
11495919.1
                              MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
          Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 6 of 60 Page ID #:8232



                  1                                         TABLE OF AUTHORITIES
                                                                  (continued)
                  2
                                                                                                                                  Page(s)
                  3
                       Frank Music Corp. v. Metro-Goldwyn-Mayer, Inc.,
                  4       772 F.2d 505 (9th Cir. 1985) ........................................................................ 48, 59
                  5
                       Frank Music Corp. v. Metro-Goldwyn-Mayer, Inc.,
                  6       886 F.2d 1545 (9th Cir. 1989) ............................................................................ 59
                  7 Frybarger v. Int’l Bus. Machines Corp.,
                  8    812 F.2d 525 (9th Cir. 1987) .............................................................................. 19
                  9 Funky Films, Inc. v. Time Warner Ent’mt Co.,
                 10   462 F.3d 1072 (9th Cir. 2006) ............................................................................ 52

                 11 Gaste v. Kaiserman,
                      863 F.2d 1061 (2d Cir. 1988) ............................................................................. 17
                 12
                 13 Genthe v. Lincoln,
                      383 F.3d 713 (8th Cir. 2004) .............................................................................. 14
                 14
                    Golan v. Holder,
                 15
                      132 S. Ct. 873 (2012).......................................................................................... 15
                 16
                    Guzman v. Hacienda Records & Rec. Studio, Inc.,
                 17   2014 WL 6982331 (S.D. Tex. Dec. 9, 2014), aff’d 808 F.3d 1031
                 18   (5th Cir. 2015) .................................................................................................... 38
                 19 Herbert Rosenthal Jewelry Corp. v. Kalpakian,
                       446 F.2d 738 (9th Cir. 1971) .............................................................................. 40
                 20
                 21 Home Design Servs, Inc. v. Turner Heritage Homes, Inc.,
                       101 F. Supp. 3d 1201 (N.D. Fla. 2015) ........................................................ 14, 20
                 22
                    Hubbard v. BankAtlantic Bancorp, Inc.,
                 23
                        688 F.3d 713 (11th Cir. 2012) ............................................................................ 13
                 24
                    In re Letterman Bros. Energy Sec. Lit.,
                 25     799 F.2d 967 (5th Cir. 1986) ........................................................................ 13, 28
                 26
                    Jason v. Fonda,
                 27     526 F. Supp. 774 (C.D. Cal. 1981) ..................................................................... 37
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                                 6
11495919.1
                              MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
          Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 7 of 60 Page ID #:8233



                  1                                         TABLE OF AUTHORITIES
                                                                  (continued)
                  2
                                                                                                                                  Page(s)
                  3
                       Jerden v. Amstutz,
                  4       430 F.3d 1231 (9th Cir. 2005) ............................................................................ 51
                  5
                       Johnson v. Gordon,
                  6       409 F.3d 12 (1st Cir. 2005) ................................................................................ 17
                  7 Kamar Int’l, Inc. v. Russ Berrie & Co.,
                  8   752 F.2d 1326 (9th Cir. 1984) ............................................................................ 48
                  9 Lakeside-Scott v. Multnomah Cnty.,
                 10    556 F.3d 797 (9th Cir. 2009) ........................................................................ 13, 14

                 11 Lillie v. ManTech Int’l Corp.,
                        2019 WL 3387732 (C.D. Cal. July 26, 2019) (Snyder, J.)..................... 14, 29, 50
                 12
                 13 Loomis v. Cornish,
                        2013 WL 6044345 (C.D. Cal. Nov. 13, 2013), aff’d, 836 F.3d 991
                 14     (9th Cir. 2016) .............................................................................................. 31, 37
                 15
                    Loomis v. Cornish,
                 16     836 F.3d 991 (9th Cir. 2016) .......................................... 15, 27, 28, 34, 36, 38, 41
                 17 Mackie v. Rieser,
                 18   296 F.3d 909 (9th Cir. 2002) .............................................................................. 46
                 19 Mag Jewelry Co., Inc. v. Cherokee, Inc.,
                      496 F.3d 108 (1st Cir. 2007) .............................................................................. 14
                 20
                 21 Mahone v. Lehman,
                      347 F.3d 1170 (9th Cir. 2003) ...................................................................... 51, 53
                 22
                    Molski v. M.J. Cable, Inc.,
                 23
                      481 F.3d 724 (9th Cir. 2007) ........................................................................ 50, 51
                 24
                    Nationwide Transp. Fin. v. Cass. Info. Sys., Inc.,
                 25   523 F.3d 1051 (9th Cir. 2008) ...................................................................... 22, 52
                 26
                    Newton v. Diamond (Newton II),
                 27   388 F.3d 1189, 1192-93 (9th Cir. 2004)............................................................. 16
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                                 7
11495919.1
                              MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
          Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 8 of 60 Page ID #:8234



                  1                                        TABLE OF AUTHORITIES
                                                                 (continued)
                  2
                                                                                                                              Page(s)
                  3
                       Oravec v. Sunny Isles Luxury Ventures, LC,
                  4      527 F.3d 1218 (11th Cir. 2008) .......................................................................... 17
                  5
                       Pappas v. Middle Earth Condo Ass’n,
                  6      963 F.2d 534 (2d. Cir. 1992) .............................................................................. 50
                  7 Perfect 10, Inc. v. Giganews, Inc.,
                  8    2014 WL 10894452 (C.D. Cal. Oct. 31, 2014) .................................................. 54
                  9 Polar Bear Prods., Inc. v. Timex Corp.,
                 10    384 F.3d 700 (9th Cir. 2004) ........................................................................ 45, 46

                 11 Reeves v. Sanderson Plumbing Prods., Inc.,
                       530 U.S. 133 (2000) ........................................................................................... 13
                 12
                 13 Rice v. Fox Broad. Co.,
                       330 F.3d 1170 (9th Cir. 2003) ............................................................................ 37
                 14
                    Richlin v. Metro-Goldwyn-Mayer Pictures, Inc.,
                 15
                       531 F.3d 962 (9th Cir. 2008) .............................................................................. 42
                 16
                    Satava v. Lowry,
                 17    323 F.3d 805 (9th Cir. 2003) ............................................................ 15, 18, 19, 26
                 18
                    Sheldon v. Metro-Goldwyn Pictures Corp.,
                 19    309 U.S. 390 (1940) ........................................................................................... 59
                 20 Skidmore v. Led Zeppelin,
                 21    Nos. 16-56057, 16-56287 (9th Cir.) ................................................................... 16
                 22 Smith v. Jackson,
                       84 F.3d 1213 (9th Cir. 1996) ........................................................................ 16, 52
                 23
                 24 Sony Corp. of Am. v. Univ. City Studios, Inc.,
                       464 U.S. 417 (1984) ........................................................................................... 15
                 25
                    Stewart v. Abend,
                 26
                       495 U.S. 207 (1990) ........................................................................................... 15
                 27
                    Swirsky v. Carey,
    Mitchell     28    376 F.3d 841, 845 (9th Cir. 2004) ................................................................ 16, 17
  Silberberg &
   Knupp LLP
                                                                      8
11495919.1
                              MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
          Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 9 of 60 Page ID #:8235



                  1                                            TABLE OF AUTHORITIES
                                                                     (continued)
                  2
                                                                                                                                           Page(s)
                  3
                       Three Boys Music Corp. v. Bolton,
                  4       212 F.3d 477 (9th Cir. 2000) .................................................................. 27, 37, 40
                  5
                       Ventura v. Kyle,
                  6      825 F.3d 876 (8th Cir. 2016) .............................................................................. 58
                  7 Williams v. Gaye,
                  8    895 F.3d 1106 (9th Cir. 2018) ...................................................................... 19, 45
                  9 Willis v. Marion Cnty. Auditor’s Office,
                 10    118 F.3d 542 (7th Cir. 1997) .............................................................................. 13

                 11                                                           STATUTES
                 12 17 U.S.C.
                       § 101 ................................................................................................................... 43
                 13    § 103 ............................................................................................................. 42, 44
                 14    § 106 ................................................................................................................... 44
                       § 410(c) ............................................................................................................... 42
                 15    § 411(a) ............................................................................................................... 41
                 16    §§ 501, 106 ......................................................................................................... 44
                       § 504(b)......................................................................................................... 45, 46
                 17
                 18                                            OTHER AUTHORITIES
                       Fed. R. Civ. P.
                 19
                          50 ............................................................................................................ 14, 29, 51
                 20       50(a) .................................................................................................................... 13
                          50(b).................................................................................................. 10, 13, 50, 59
                 21
                          50(c) .................................................................................................................... 50
                 22       59 ................................................................................................ 10, 50, 51, 52, 59
                          59(a)(1) ............................................................................................................... 50
                 23
                          59(d).................................................................................................................... 51
                 24
                       1 Melville D. Nimmer & David Nimmer, Nimmer on Copyright §
                 25       2.05[B] (rev. ed. 2017) ....................................................................................... 17
                 26
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                                      9
11495919.1
                               MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 10 of 60 Page ID #:8236



                  1 I.      INTRODUCTION
                  2         Pursuant to FRCP 50(b) and, alternatively, Rule 59, Defendants 1 respectfully
                  3 ask this Court to overturn and vacate the legally unsupportable jury verdicts in this
                  4 music copyright infringement case that are widely recognized within the music
                  5 industry—and beyond—as a grave miscarriage of justice. No reasonable factfinder
                  6 could have returned a copyright infringement liability verdict in Plaintiffs’ favor
                  7 based upon the undisputed facts and paucity of Plaintiffs’ evidence. Applying the
                  8 proper standards to the trial record in this case, Plaintiffs utterly failed to prove
                  9 copying through access and substantial similarity, and the Court should enter
                 10 judgment as a matter of law in Defendants’ favor or, at minimum, grant a new trial
                 11 as the jury verdicts are against the clear weight of the evidence.
                 12         The erroneous verdicts in this case and the precedent established thereby
                 13 present serious harm to music creators and to the music industry as a whole. As the
                 14 recent spate of Ninth Circuit cases and briefings have shown, there is a deep level
                 15 of interest in, and necessary attention being given by the courts to, the issue of
                 16 where to draw the line between the permissible use of commonplace and
                 17 unprotectable expression (or “building blocks”) in musical compositions and
                 18 copyright infringement, as well as the application of existing copyright
                 19 jurisprudence to those situations. While musical compositions employ a language
                 20 unto themselves, they are not second-class citizens when it comes to the
                 21 application of the United States copyright laws in infringement cases. Music
                 22 creators who use commonplace expression in music are entitled to the same
                 23 amount of breathing room afforded creators of other art forms; this breathing room
                 24 is essential to the advancement and balancing of the goals of our copyright laws.
                 25
                 26  “Defendants” are Capitol Records LLC, Jordan Houston, Lukasz Gottwald, Sarah
                      1

                    Theresa Hudson, Karl Martin Sandberg, Henry Russell Walter, WB Music Corp.,
                 27 Kobalt Music Publishing America, Inc., Kasz Money, Inc., and Katheryn Elizabeth
                    Hudson. Defendants UMG Recordings, Inc., Universal Music Group, Inc., and
    Mitchell     28 Kitty Purry, Inc. were dismissed with prejudice during trial. Declaration of Aaron
  Silberberg &
   Knupp LLP
                    M. Wais dated October 9, 2019 (cited herein as “WD”), Ex. 6, p. 1113 l. 7-22.
                                                            10
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 11 of 60 Page ID #:8237



                  1 This case presents a critical opportunity to address these issues and rectify a wholly
                  2 improper finding of infringement based on nothing more than the proper use of
                  3 unprotectable expression that no creator can monopolize.
                  4         Here, the jury erroneously found both extrinsic and intrinsic similarity,
                  5 which only could have occurred by it failing to follow the legal standards provided
                  6 in the jury instructions and as applied to the undisputed evidence presented at trial.
                  7 Plaintiffs’ own expert musicologist testified that Plaintiffs’ “Joyful Noise” ostinato
                  8 is comprised entirely of commonplace (thus unprotectable) elements of music. The
                  9 sole basis for the Plaintiffs’ alleged substantial similarity claim is their expert’s
                 10 opinion that “Joyful Noise” created a purported “combination” of those
                 11 unprotectable elements which are allegedly copied in “Dark Horse.” As discussed
                 12 below, under the proper application of the extrinsic test, the undisputed record
                 13 mandates a finding that there is no extrinsic similarity based upon this
                 14 “combination” allegedly in common between the two ostinatos at issue. Under
                 15 copyright law, Plaintiffs’ ostinato was entitled to only a “thin” copyright
                 16 protection, at best, because it was an admitted combination of unprotectable
                 17 elements. As such, no finding of substantial similarity could be found absent
                 18 virtual identity between the two purported “combinations.” Given Plaintiffs’
                 19 expert’s admissions and unrebutted proof that there are several differences in the
                 20 purported combinations, no such virtual identity exists as a matter of law. Thus, the
                 21 intrinsic test should never have been considered by the jury and the verdict
                 22 rendered during the liability phase of the trial should have been for Defendants.2
                 23         Compounding these errors, no evidence whatsoever supported the jury’s
                 24 finding that “Joyful Noise” was “widely disseminated,” which was Plaintiffs’ sole
                 25 flimsy “access” theory. 3 No reasonable factfinder could have concluded that
                 26   2
                      This standard in all events was also clearly not followed as no reasonable juror
                    could  have found that the works as wholes were substantially similar. Infra
                 27 § II.B.3.c.
    Mitchell     28 3 Plaintiffs had no theory of access. Infra § II.C.
  Silberberg &
   Knupp LLP
                                                                11
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 12 of 60 Page ID #:8238



                  1 “Joyful Noise” was so well-known that it could be reasonably inferred that
                  2 Defendants heard it, particularly in this digital age of content overload, with
                  3 billions of videos and songs available to users with trillions of streams, as
                  4 Defendants’ evidence demonstrated (and Plaintiffs failed to rebut). The few million
                  5 views of “Joyful Noise” on the Internet presented by Plaintiffs, over a period of
                  6 five years, equals an undisputed “drop in the bucket” in modern day view count
                  7 statistics—and can hardly constitute widespread dissemination—as a matter of
                  8 undisputed fact and law. Plaintiffs adduced no other evidence that could meet their
                  9 burden of proving widespread dissemination.
                 10         Plaintiffs adduced no evidence of any sales and no documentary evidence of
                 11 any radio or television play, or of actual performances of “Joyful Noise.” Indeed,
                 12 Plaintiffs only proffered the self-serving testimony of one plaintiff and his wife in
                 13 order to prove dissemination through live performances; however, even that
                 14 testimony merely revealed that the song was played to audiences of unknown sizes,
                 15 intermittently, and at mostly religious venues of unknown sizes. Most importantly,
                 16 Plaintiffs failed to establish that any Defendant ever attended, or was even aware
                 17 of, these performances. Finally, Plaintiffs’ evidence of critical acclaim for “Joyful
                 18 Noise” was in a niche genre within which, indisputably, the relevant authors of
                 19 “Dark Horse” do not participate. Under Ninth Circuit law, this evidence is wholly
                 20 insufficient to give rise to a reasonable inference that Defendants had a reasonable
                 21 opportunity to have heard “Joyful Noise”; the uncontroverted evidence was to the
                 22 contrary. Here again, the jury’s verdict constitutes a dangerously wrong precedent
                 23 if allowed to stand.
                 24         For these important reasons and the others set forth below, Defendants
                 25 respectfully request that the Court enter judgment as a matter of law in their favor.
                 26 Alternatively, they request a new trial or a reduction of the damage award.
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                               12
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 13 of 60 Page ID #:8239



                  1 II.     THE COURT SHOULD ENTER JUDGMENT AS A MATTER OF
                  2         LAW ON PLAINTIFFS’ COPYRIGHT INFRINGEMENT CLAIM
                  3         A.    Rule 50(b) Judgment As A Matter Of Law Standard
                  4         If a Court does not grant a motion for judgment as a matter of law made at
                  5 the close of evidence and instead submits the issues to the jury, the moving party
                  6 may renew the motion after entry of judgment under Fed. R. Civ. P. 50(b). The
                  7 standard for subsections (a) and (b) is the same; judgment as a matter of law is
                  8 appropriate where “a party has been fully heard on an issue during a jury trial and
                  9 the court finds that a reasonable jury would not have a legally sufficient
                 10 evidentiary basis to find for the party on that issue.” Fed. R. Civ. P. 50(a); Reeves
                 11 v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 149 (2000) (same). See also
                 12 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986) (relevant inquiry is
                 13 “whether the evidence presents a sufficient disagreement to require submission to a
                 14 jury or whether it is so one-sided that one party must prevail as a matter of law.”).
                 15         On a Rule 50(b) motion, the court does not consider what the jury actually
                 16 found, but whether a sufficient evidentiary basis supported finding for the
                 17 nonmoving party. See Hubbard v. BankAtlantic Bancorp, Inc., 688 F.3d 713, 724
                 18 (11th Cir. 2012) (“Only the sufficiency of the evidence matters; what the jury
                 19 actually found is irrelevant.”) (affirming grant of JMOL). Judgment as a matter of
                 20 law is not limited to situations where “there is a complete absence of probative
                 21 facts to support a jury verdict.” In re Letterman Bros. Energy Sec. Lit., 799 F.2d
                 22 967, 972 (5th Cir. 1986). Indeed, a “mere scintilla” of evidence is not enough to
                 23 sustain a verdict for the prevailing party. Id. at 971; Willis v. Marion Cnty.
                 24 Auditor’s Office, 118 F.3d 542, 548 (7th Cir. 1997) (affirming post-verdict grant of
                 25 JMOL). And while courts “draw all reasonable inferences in [the non-movant’s]
                 26 favor,” a reasonable inference “cannot be supported by only threadbare conclusory
                 27 statements instead of significant probative evidence.” Lakeside-Scott v.
    Mitchell     28 Multnomah Cnty., 556 F.3d 797, 802 (9th Cir. 2009) (emphasis added) (reversing
  Silberberg &
   Knupp LLP
                                                               13
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 14 of 60 Page ID #:8240



                  1 denial of JMOL motion); see also Genthe v. Lincoln, 383 F.3d 713, 716 (8th Cir.
                  2 2004) (an inference is reasonable “when it may be drawn from the evidence
                  3 without resort to speculation”) (affirming grant of JMOL). As such, judgment as a
                  4 matter of law is also appropriate where the jury disregarded the evidence and jury
                  5 instructions at trial, or where “the jury could have relied only on speculation to
                  6 reach its verdict.” Lakeside-Scott, 556 F.3d at 803; see also Home Design Servs,
                  7 Inc. v. Turner Heritage Homes, Inc., 101 F. Supp. 3d 1201, 1215 (N.D. Fla. 2015)
                  8 (granting motion for JMOL on basis that “no jury following the Court’s
                  9 instructions on the law” could have found substantial similarity); Mag Jewelry Co.,
                 10 Inc. v. Cherokee, Inc., 496 F.3d 108, 118 (1st Cir. 2007) (affirming grant of JMOL
                 11 where plaintiff failed to satisfy burden of proving access). Moreover,
                 12 “unimpeached and uncontradicted evidence favorable to the movant [] can be
                 13 considered by [the court] in evaluating the merits” of a motion for judgment as a
                 14 matter of law. Cnty. of Suffolk v. Long Island Lighting Co., 907 F.2d 1295, 1314-
                 15 15 (2d Cir. 1990) (affirming grant of JMOL).
                 16         Under these standards, as explained further below, Defendants are entitled to
                 17 judgment as a matter of law. See Lillie v. ManTech Int’l Corp., 2019 WL 3387732,
                 18 at *24 (C.D. Cal. July 26, 2019) (Snyder, J.) (granting renewed motion for JMOL
                 19 to the defendant following a jury verdict in the plaintiff’s favor); see also Fahmy v.
                 20 Jay-Z, 2015 WL 6394455, at *10 (C.D. Cal. Oct. 21, 2015) (Snyder, J.), aff’d, 908
                 21 F.3d 383 (9th Cir. 2018) (granting the defendants’ motion for JMOL). 4
                 22
                      4
                 23     “Although both motions employ the same legal standard, denial of a motion for
                      summary judgment does not mandate that a Rule 50 motion be denied, because the
                 24   latter tests the sufficiency of evidence actually presented at trial.” Archibald v. Cty.
                      of San Bernardino, 2018 WL 6017032, at *4 n.3 (C.D. Cal. Oct. 2, 2018). Indeed,
                 25   “after trial, the court [may have] a better basis on which to determine the existence
                      of material issues, including that there was never a true issue of fact at all.” Id.
                 26   (citing Lies v. Farrell Lines, Inc., 641 F.2d 765, 772 (9th Cir. 1981)); Lillie, 2019
                      WL 3387732, at *22 (granting JMOL after denying summary judgment on the
                 27   same claims, noting that “[n]ow, viewing all the evidence in the light most
                      favorable to plaintiff, the Court finds that the evidentiary record does not permit a
    Mitchell     28   reasonable jury to” find in favor of the plaintiff).
  Silberberg &
   Knupp LLP
                                                                14
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 15 of 60 Page ID #:8241



                  1         B.     No Reasonable Jury Could Have Found “Joyful Noise” And
                                   “Dark Horse” To Be Substantially Similar Based On The
                  2                Undisputed Evidence At Trial 5
                  3                1.    It Is A Fundamental Tenet Of The Copyright Act That
                                         Commonplace Expression Is Not Copyrightable And May
                  4                      Not Be Monopolized
                  5         The purpose of copyright law is not to provide copyright owners with all-
                  6 encompassing monopoly rights so as to deter future authors from creating original
                  7 works of their own. Quite the contrary, the goal of the Copyright Act is to
                  8 “promot[e]” the creation and “public availability of literature, music, and the other
                  9 arts.” Sony Corp. of Am. v. Univ. City Studios, Inc., 464 U.S. 417, 432 (1984)
                 10 (citation omitted). Accord, Golan v. Holder, 132 S. Ct. 873, 889 (2012).
                 11         Consistent with this goal, copyright owners do not have exclusive rights
                 12 over each and every element of their copyrighted works. Feist Publ’ns, Inc., 499
                 13 U.S. at 348. Rather, “expressions that are standard, stock or common to a particular
                 14 subject matter or medium are not protectable under the copyright law.” Satava v.
                 15 Lowry, 323 F.3d 805, 810 (9th Cir. 2003). When an author creates a work
                 16 incorporating commonplace “elements [which] are already in the public domain,”
                 17 that author is entitled to “receive protection only for [her or] his original additions
                 18 to the” new work. Stewart v. Abend, 495 U.S. 207, 234-35 (1990). See also Dkt.
                 19 441, Jury Instr. 34 (“While an author of an original work may be entitled to prevent
                 20 others from copying original, protectable expression in the author’s work,
                 21 copyright protection does not extend to commonplace expression.”).
                 22
                 23   5
                      “To establish copyright infringement, a plaintiff must prove two elements: ‘(1)
                 24 ownership of a valid copyright, and (2) copying of constituent elements of the
                    work that are original.’” Loomis v. Cornish, 836 F.3d 991, 994 (9th Cir. 2016),
                 25 quoting Feist Publ’ns, Inc. v. Rural Telephon Serv. Co., 499 U.S. 340, 361 (1991).
                    Regarding the latter element, “[a]bsent direct evidence of copying,” Plaintiffs were
                 26 required to prove that the Defendants had (1) access to “Joyful Noise” and (2) that
                    “Joyful Noise” and “Dark Horse” are substantially similar in protected expression.
                 27 Loomis, 836 F.3d at 994 (internal quote marks and citations omitted). This
                    Memorandum addresses these elements in the order set forth in the Special Verdict
    Mitchell     28 Form. Dkt. 456.
  Silberberg &
   Knupp LLP
                                                               15
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 16 of 60 Page ID #:8242



                  1         Preventing copyright claimants from monopolizing commonplace
                  2 expression is critical to accomplishing the Copyright Act’s ultimate goal of
                  3 encouraging the creation of new artistic works. This is because “in art, there are,
                  4 and can be, few, if any, things, which in an abstract sense, are strictly new and
                  5 original throughout. Every book in literature, science and art, borrows, and must
                  6 necessarily borrow, and use much which was well known and used before.”
                  7 Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 575 (quoting Emerson v.
                  8 Davies, 8 F. Cas. 615, 619 (No. 4,436) (CCD Mass. 1845)).
                  9         Musical compositions are no exception to this rule; they are entitled to the
                 10 same scope of copyright protection as any other creative work. Smith v. Jackson,
                 11 84 F.3d 1213, 1216 n. 3 (9th Cir. 1996) (“common or trite” musical elements not
                 12 protected); see also WD, Ex. 38, pp. 1947-51 (Amicus Brief of United States,
                 13 Skidmore v. Led Zeppelin, Nos. 16-56057, 16-56287 (9th Cir.)). As the Ninth
                 14 Circuit explained in Newton v. Diamond (Newton II), an action concerning the
                 15 alleged infringement of a musical composition:
                 16               … [E]ven where the fact of copying is conceded, no legal
                 17               consequences will follow from that fact unless the
                 18               copying is substantial. … The principle that trivial
                 19               copying does not constitute actionable infringement has
                 20               long been a part of copyright law.
                 21 388 F.3d 1189, 1192-93 (9th Cir. 2004) (emphasis added).
                 22               2.     The Substantial Similarity Test Must Be Applied In A
                                         Manner Consistent With The Purpose And Policy Of The
                 23                      Copyright Act
                 24                     a.     The Extrinsic Test
                 25         In conducting the substantial similarity analysis, the trier of fact must first
                 26 apply the extrinsic test. As the Ninth Circuit explained in Swirsky v. Carey, the
                 27 extrinsic test “requires breaking the [plaintiff’s and defendant’s] works down into
    Mitchell     28 their constituent elements, and comparing those elements for proof of copying as
  Silberberg &
   Knupp LLP
                                                                16
11495919.1
                          MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 17 of 60 Page ID #:8243



                  1 measured by substantial similarity.” 376 F.3d 841, 845 (9th Cir. 2004) (quotation
                  2 marks omitted). “Because the requirement is one of substantial similarity to
                  3 protected elements of the copyrighted work, it is essential to distinguish between
                  4 the protected and unprotected material” and extract the unprotected material before
                  5 comparing the two works. Id. (emphasis added); see also Apple Computer, Inc. v.
                  6 Microsoft Corp., 35 F.3d 1435, 1446 (9th Cir. 1994).
                  7         In music copyright cases, this discerning and critical test must be applied to
                  8 extract the unprotectable elements within the allegedly infringing passages in
                  9 common with a plaintiff’s composition, prior to assessing substantial similarity.
                 10 This test is meant to ensure that commonplace material is not and may not be the
                 11 basis of any infringement claim. Courts should act as gatekeepers to ensure this
                 12 essential test is met because there are a “limited number of notes and chords
                 13 available to composers and … common themes frequently reappear in various
                 14 compositions, especially in popular music.” Gaste v. Kaiserman, 863 F.2d 1061,
                 15 1068 (2d Cir. 1988) (citing Arnstein v. Edward B. Marks Music Corp., 82 F.2d
                 16 275, 277 (2d Cir. 1936)).6 “Given the limited number of musical notes (as opposed
                 17 to words in a language) and the combination of those notes and their phrasing, it is
                 18 not surprising that a simple composition of a short length might well be susceptible
                 19 to original creations by more than one composer.” Calhoun v. Lillehas Publ’g, 298
                 20 F.3d 1228, 1232 (11th Cir. 2002). If such commonplace musical devices are not
                 21 extracted from the extrinsic analysis, but are instead accorded copyright protection,
                 22 then “future authors, composers and artists will find a diminished store of ideas on
                 23 which to build their works.” Oravec v. Sunny Isles Luxury Ventures, LC, 527 F.3d
                 24   6
                      See also Johnson v. Gordon, 409 F.3d 12, 22 (1st Cir. 2005) (noting the “limited
                 25 musical vocabulary available to composers”); 1 Melville D. Nimmer & David
                    Nimmer, Nimmer on Copyright § 2.05[B] (rev. ed. 2017) (“In the field of popular
                 26 songs, many, if not most, compositions bear some similarity to prior songs.”).
                    Indeed, “while there are an enormous number of possible permutations of the
                 27 musical notes of the scale, only a few are pleasing; and much fewer still suit the
                    infantile demands of the popular ear.” Darrell v. Joe Morris Music Co., 113 F.2d
    Mitchell     28 80, 80 (2d Cir. 1940) (per curiam).
  Silberberg &
   Knupp LLP
                                                               17
11495919.1
                          MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 18 of 60 Page ID #:8244



                  1 1218, 1225 (11th Cir. 2008) (quoting Meade v. U.S., 27 Fed. Cl. 367, 372 (Fed. Cl.
                  2 1992)).
                  3         Similarly, courts apply—and must apply—a further series of copyright
                  4 limiting doctrines to ensure that claims of infringement of combinations of
                  5 unprotectable expression do not stifle other creators from using the unprotectable
                  6 expression within those combinations. Thus, and first, a combination of
                  7 unprotectable musical elements may only be potentially subject to copyright
                  8 protection if “those elements are numerous enough and their selection and
                  9 arrangement original enough that their combination constitutes an original work of
                 10 authorship.” Satava, 323 F.3d at 811; see also Apple Computer, 35 F.3d at 1445.7
                 11 Second, and this next step in the analysis is critical, even if a combination of
                 12 commonplace musical elements meets the above test, that combination is still only
                 13 entitled, at most, to a “thin copyright that protects against only virtually identical
                 14 copying.” Satava, 323 F.3d at 812 (emphasis added) (citing Ets-Hokin v. Skyy
                 15 Spirits, Inc., 323 F.3d at 766 (9th Cir. 2003) (“When we apply the limiting
                 16 doctrines, subtracting the unoriginal elements, Ets Hokin is left with … a ‘thin’
                 17 copyright, which protects against only virtually identical copying.”); Apple
                 18 Computer, 35 F.3d at 1439 (“When the range of protectable...expression is narrow,
                 19 the appropriate standard for illicit copying is virtual identity.”).
                 20         The Ninth Circuit has routinely applied this “thin” copyright standard where
                 21 the claimed similarity is the selection and arrangement of a limited number of
                 22 unprotected elements in cases involving other artistic works. Folkens v. Wyland
                 23   7
                     In its Order on Defendants’ Motion for Summary Judgment, the Court stated that
                 24 “[t]o the extent the defendants seek to persuade the Court to deviate from the
                    substantial similarity standard as it is articulated in Swirsky, the Court declines to
                 25 do so.” Dkt. 299, p. 10 n.6. But the Ninth Circuit in Swirsky did not hold that music
                    copyright cases are any different from copyright cases involving other works.
                 26 Citing Satava with approval, the Court noted that “a substantial similarity can be
                    found in a combination of elements, even if those elements are individually
                 27 unprotected.” 376 F.3d at 848 (emphasis added). This is true and undisputed. A
                    combination of unprotected elements can be protected if it meets the criteria set
    Mitchell     28 forth in Satava, Apple Computer, and numerous other cases.
  Silberberg &
   Knupp LLP
                                                                18
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 19 of 60 Page ID #:8245



                  1 Worldwide, LLC, 882 F.3d 768, 776 (9th Cir. 2018) (pen-and-ink drawing);
                  2 Satava, 323 F.3d at 812 (sculpture); Frybarger v. Int’l Bus. Machines Corp., 812
                  3 F.2d 525, 530 (9th Cir. 1987) (video bingo game); Feist, 499 U.S. at 348-49
                  4 (compilations protected against copying “precise words used”).
                  5         Musical compositions are not to be treated any better or worse than any
                  6 other art form under the law and these doctrines, including the “thin copyright
                  7 doctrine,” equally apply to them, as this Court already recognized in instructing the
                  8 jury. See Dkt. 441, Jury Instr. 34. 8 These limiting doctrines—requiring the
                  9 extraction of unprotectable expression from consideration of substantial similarity
                 10 under the extrinsic test, and the affording of a thin copyright which protects against
                 11 only virtually identical copying to combinations of unprotectable expression—are
                 12 critically designed to insure that no creator monopolizes unprotectable expression
                 13 to the exclusion of other creators and in derogation of the principles of our
                 14 copyright laws.
                 15                      b.     The Intrinsic Test
                 16         If a plaintiff fails to satisfy the extrinsic test, the inquiry is over. The
                 17 intrinsic test takes the inquiry to the next level, with the goal of only allowing
                 18 infringement to be found as to substantial copying of protectable expression in the
                 19 context of analyzing the works as a whole, including their differences. The jury
                 20   8
                     Williams v. Gaye, 895 F.3d 1106 (9th Cir. 2018) addressed the thin copyright
                 21 doctrine in the context of a work as a whole and is thus not to the contrary. Gaye
                    did not address the issue of whether a specific phrase of a musical composition
                 22 concededly comprised of only a combination of a few unprotectable elements is
                    entitled to at most a thin copyright. Unlike the Plaintiffs in this action, the
                 23 counterclaim plaintiffs in Williams did not allege that only a discrete portion of the
                    musical composition “Got to Give It Up” was unlawfully copied by “Blurred
                 24 Lines.” Rather, the counterclaim plaintiffs alleged that “Blurred Lines” improperly
                    copied a “constellation” of musical elements from the entirety of “Got To Give It
                 25 Up.” On appeal, the Court rejected the counterclaim defendants’ argument that the
                    entire musical composition “Got To Give It Up”—which unquestionably was
                 26 comprised of much more than merely a small number of unprotectable elements—
                    was only entitled to a “thin” copyright. There is no contention here that “Joyful
                 27 Noise,” considered as a musical composition in its entirety, is entitled to a thin
                    copyright. The ostinato at issue in “Joyful Noise,” however, is entitled to nothing
    Mitchell     28 more than a thin copyright.
  Silberberg &
   Knupp LLP
                                                                 19
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 20 of 60 Page ID #:8246



                  1 must consider whether the two works as a whole are “substantially similar in the
                  2 total concept and feel of the works.” Cavalier v. Random House, Inc., 297 F.3d
                  3 815, 822 (9th Cir. 2002) (emphasis added, citation omitted). Again, this inquiry is
                  4 limited to the consideration only of similarities that are protectable expression, as
                  5 this Court properly instructed the jury. See Dkt. 441, Jury Instr. 37.
                  6                3.    A Reasonable Jury Following The Court’s Instructions
                                         Could Not Have Found Substantial Similarity
                  7
                  8         This Court properly instructed the jury to first apply the above principles of
                  9 the extrinsic test: “you must inquire only whether the protectable elements,
                 10 standing alone, are substantially similar, and must filter out and disregard the non-
                 11 protectable.” Dkt. 441, Jury Instr. 37. The Court further accurately instructed the
                 12 jury that “[a] combination of unprotectable elements may be eligible for copyright
                 13 protection if those elements are numerous enough and their selection and
                 14 arrangement original enough that their combination constitutes an original work of
                 15 authorship. Trivial elements of compilation and arrangement are not
                 16 copyrightable.” Id., Jury Instr. 34. Critically here, in an instruction that focused
                 17 properly only on the ostinato in “Joyful Noise,” and not the entire composition, the
                 18 Court instructed that “when a work embodies only the minimum level of creativity
                 19 necessary for copyright, it is said to have ‘thin’ copyright protection. A thin
                 20 copyright only protects against virtually identical copying.” Id. Instructing on the
                 21 intrinsic test, the Court charged the jury with “determin[ing] whether … the total
                 22 concept and feel of ‘Joyful Noise’ and ‘Dark Horse’ are substantially similar in
                 23 original, protectable expression.” Id., Jury Instr. 37 (emphasis added).
                 24         No reasonable jury properly applying these legal standards would have
                 25 found that Plaintiffs met their burden under the extrinsic test to show that the
                 26 ostinatos in “Joyful Noise” and “Dark Horse” are substantially similar in protected
                 27 expression. See Home Design Servs., Inc., 101 F. Supp. 3d at 1215 (granting
    Mitchell     28 JMOL on grounds that “no jury following the Court’s instructions on the law could
  Silberberg &
   Knupp LLP
                                                               20
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 21 of 60 Page ID #:8247



                  1 reasonably find the … designs substantially similar … the jury in this case must
                  2 have disregarded the significant differences that existed at the level of protected
                  3 expression and focused instead on the unprotected similarities in the designs.”).
                  4 The inquiry should have stopped there, based upon the undisputed trial record.
                  5         A proper application of the Ninth Circuit’s legal standards to the factual
                  6 record establishes that the works do not meet the extrinsic test (no less the intrinsic
                  7 test), and there is no substantial similarity as a matter of law. See, e.g., Benay v.
                  8 Warner Bros. Entm’t, 607 F.3d 620, 624 (9th Cir. 2010) (substantial similarity
                  9 “may often be decided as a matter of law”) (quoting Funky Films, Inc. v. Time
                 10 Warner Ent’mt Co., 462 F.3d 1072, 1076 (9th Cir. 2006)).
                 11                     a.     The Only Claimed Similarities Are A Small Number
                                               Of Undisputedly Commonplace Elements In The
                 12                            Ostinatos
                 13         At trial, the only portion of “Joyful Noise” which Plaintiffs claimed to be
                 14 infringed was its ostinato, and the only portion of “Dark Horse” which Plaintiffs
                 15 claimed to be infringing was its Ostinato 2. As the Court stated on the record: “this
                 16 whole case was about whether Ostinato No. 2 in Dark Horse infringed the ostinato
                 17 in Joyful Noise.” WD, Ex. 8, p. 1349 l. 24-1350 l. 3. The undisputed transcriptions
                 18 of these two ostinatos prior to the transposition to the same key (see WD, Ex. 28)
                 19 are set forth below:
                 20
                 21
                 22
                 23
                 24
                 25
                 26         As detailed below, it was undisputed by both parties’ expert musicologists
                 27 that all of the claimed similarities between the portions of the works at issue (the
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                21
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 22 of 60 Page ID #:8248



                  1 ostinato in “Joyful Noise” and Ostinato 2 in “Dark Horse”) are commonplace, and
                  2 that those ostinatos contain numerous differences.
                  3          At trial, Dr. Decker testified that these two ostinatos contained the following
                  4 similarities: a pitch sequence of 3, 3, 3, 3, 2, 2 on evenly spaced notes (along with
                  5 a melodic descent from 3 to 2 to 1); timbre (in the form of a “pingy” synthesizer
                  6 sound); a purported phrase length of eight notes; and the “placement” of the
                  7 ostinato in the sound recording’s mix. WD, Ex. 3, p. 445 l.17-446 l.3. Dr. Decker
                  8 conceded, and thus it is undisputed fact, that each of these similarities was
                  9 individually commonplace and unremarkable, testifying that “[a]ny single one of
                 10 those would not have been enough.” Id. p. 524 l. 9-23. Rather, according to Dr.
                 11 Decker, “[i]t’s the combination of them” that was purportedly significant. Id.9
                 12          In addition to the above clear concession by Plaintiffs’ expert that the
                 13 purported similarities were individually not protectable, his specific testimony at
                 14 trial further conceded and established the commonplace nature of each of the
                 15 similarities between the portions of the two ostinatos, similarities that necessarily
                 16 flow from an independent compositional choice of writing in the minor mode and
                 17 using a descending ostinato. Dr. Decker acknowledged the obvious point that the
                 18 use of an ostinato itself is not protectable, in that countless musical works have
                 19 contained ostinatos. Id. p. 506 l. 14-507 l. 7. Nor can writing in the minor mode be
                 20 copyrightable. With respect to the main similarity asserted by Dr. Decker of scale
                 21 degrees “3, 3, 3, 3, 2, 2” (or “C, C, C, C, B, B”) on an evenly spaced rhythm:
                 22       • Scale degree 3 in the minor mode informs the listener that a song is “in the
                 23          minor mode.” Id. p. 450 l. 13-14.
                 24       • Dr. Decker conceded that “scale degrees have tendencies” in that they “want
                 25          to go places.” Id. p. 443 l. 24-444 l. 14; 450 l. 18-20. Specifically, “3 wants
                 26   9
                     Dr. Decker’s assertion that the combination of commonplace elements in “Joyful
                 27 Noise” was protectable and substantially similar to “Dark Horse,” is a conclusion
                    of law that no expert witness is allowed to make. See Nationwide Transp. Fin. v.
    Mitchell     28 Cass. Info. Sys., Inc., 523 F.3d 1051, 1058 (9th Cir. 2008).
  Silberberg &
   Knupp LLP
                                                                 22
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 23 of 60 Page ID #:8249



                  1           to go down to 2” and “2 desperately wants to go to 1” because “1 is our
                  2           home note.” Id. p. 450 l. 19-22, 458 l. 6-7, 18-21. See also id. p. 459 l. 1-6.
                  3        • Dr. Decker conceded that repeating scale degree 3 is a technique composers
                  4           use to build “up tension that wants to be released and it is released to 2” (id.
                  5           p. 451 l. 22-23); “you repeat [scale degree 3] more often and it creates more
                  6           of a desire for it to go down” (id. p. 450 l. 21-22).
                  7        • Ostinato 1 in “Dark Horse,” which Dr. Decker concedes is not infringing,
                  8           contains this same descent from 3 to 2 to 1. Id. p. 496 l. 9-497 l. 6.10
                  9        • He admitted that a C note and a B note are two white keys next to each other
                 10           on a piano, these notes are not hard to play, and it is relatively simple to hit
                 11           four C notes in a row followed by two B notes. Id. p. 494 l. 1-7, 516 l. 1-14.
                 12        • Dr. Decker admitted that evenly spaced notes are a “relatively simple
                 13           rhythmic choice” that “no composer’s entitled to monopolize.” Id. p. 507 l.
                 14           12-23, 516 l. 18-20.
                 15        • Dr. Decker did not dispute that “Love Me Or Hate Me,” released prior to
                 16           “Joyful Noise” in 2006 and co-written by Gottwald, contains a descending
                 17           ostinato with a “3, 2, 1, 5” pitch content, evenly spaced notes, and a sparse
                 18           texture. WD, Ex. 5 p. 913 l. 8-914 l. 11.
                 19        • Dr. Decker did not dispute that “Brainchild,” released in 1996, and
                 20           “Choosing Life,” released in 2002 (prior to “Joyful Noise”), also contain the
                 21           repeating scale degrees (“3, 2, 1, 5” or “C, B, A, E”) that are present in both
                 22           Ostinato 1 and Ostinato 2 in “Dark Horse.” Id. p. 884 l. 8-20, 886 l. 12-24.
                 23        • The children’s song “Merrily We Roll Along” (found in a beginning
                 24           instructional book for elementary school students) and the Christmas carol
                 25           “Jolly Old St. Nicholas” also contain the pitch sequence 3, 3, 3, 3, 2, 2 on
                 26           evenly spaced notes. Id. p. 904 l. 7-905 l. 17; 907 l. 17-908 l. 4. Dr. Decker
                 27
                      Dr. Decker’s admission regarding Ostinato 1 creates a further undisputed fact in
                      10

    Mitchell     28 support of this motion.
  Silberberg &
   Knupp LLP
                                                                  23
11495919.1
                            MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 24 of 60 Page ID #:8250



                  1         did not dispute this, and it is unrebutted.
                  2         With respect the purported shared phrase length of eight notes, Dr. Decker
                  3 admitted that “[i]t’s characteristic for a phrase like this to last for eight beats.” WD,
                  4 Ex. 3, p. 448 l. 3-9.11
                  5         While Dr. Decker testified that the “t[imbre] or the quality and color of the
                  6 sound” is similar, in that both works are produced in a sound recording using a
                  7 “pingy sound” with a synthesizer (WD, Ex. 3, p. 452 l. 21-453 l. 19) he conceded
                  8 that the timbre of the songs are “not identical” (id.), and that a pingy synthesized
                  9 timbre cannot be monopolized (id. p. 516 l. 21-517 l. 4).
                 10         Finally, unrebutted testimony from Dr. Ferrara established that sparse
                 11 texture is commonplace. WD, Ex. 5 p. 912 l. 15-913 l. 7.12
                 12                     b.     The Undisputed Evidence Establishes The Many
                 13                            Differences Between The Ostinatos In “Joyful Noise”
                 14                            And “Dark Horse”
                 15         The undisputed record adduced at trial similarly establishes that the ostinato
                 16 in “Joyful Noise” and Ostinato 2 in “Dark Horse” contain important differences:
                 17     • The pitch on Beat 7 of the ostinato in “Joyful Noise” is a B, while the pitch
                 18         on Beat 7 of Ostinato 2 in “Dark Horse” is an A. WD, Ex. 3, p. 499 l. 8-16.
                 19     • The pitch on Beat 8 of the ostinato in “Joyful Noise” is an A or an F,
                 20         depending on the iteration. The pitch on Beat 8 of Ostinato 2 in “Dark
                 21         Horse” is an E. Id. p. 499 l. 18-501 l. 7.
                 22     • The B is repeated three times in the ostinato in “Joyful Noise” but is only
                 23         repeated twice in Ostinato 2 in “Dark Horse.” Thus, Ostinato 2 descends to
                 24         A a full beat before the ostinato in “Joyful Noise.” Id. p. 499 l. 8-16.
                 25
                    11
                 26 919In fact, the “Joyful Noise” ostinato consists of 16 beats. WD, Ex. 5 p. 918 l. 16-
                          l. 13.
                 27 12 As discussed infra § II.B.3.c, the “mix” of a sound recording is not an element of
                    the underlying musical composition and therefore may not be considered in the
    Mitchell     28 substantial similarity analysis.
  Silberberg &
   Knupp LLP
                                                                24
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 25 of 60 Page ID #:8251



                  1        • The ostinato in “Joyful Noise” takes 16 beats for all of the melodic content
                  2           in that ostinato to be expressed before it repeats. In contrast, it only takes 8
                  3           beats for all the melodic content in Ostinato 2 in “Dark Horse” to be
                  4           expressed. WD, Ex. 5 p. 918 l. 16-919 l. 13.
                  5        • The ostinato in “Joyful Noise” contains portamentos (also known as slides).
                  6           WD, Ex. 3, p. 505 l. 9-22. In contrast, there are no such portamentos in
                  7           “Dark Horse.” That gives the ostinato in “Joyful Noise” rhythmic and
                  8           melodic content that is nowhere present in Ostinato 2 in “Dark Horse.” Id.
                  9        • The ostinato in “Joyful Noise” occurs throughout the entirety of “Joyful
                 10           Noise”; in contrast, Ostinato 2 in “Dark Horse” is only iterated during the
                 11           verse sections. Id. p. 495 l. 15-17.
                 12        • The ostinatos are in different keys (id. p.460 l. 5-25); the tempos are
                 13           different (id. p. 462 l. 1-6, 504 l. 23-25); the harmony is different (id. p. 504
                 14           l. 11-18); and the harmonic rhythm is different (id. p. 504 l. 19-22).13
                 15                       c.     Proper Application Of The Extrinsic And Intrinsic
                                                 Tests To These Facts Requires A Finding Of No
                 16                              Substantial Similarity
                 17                               (i)    The Extrinsic Test
                 18           As discussed above, the proper application of the extrinsic test requires
                 19 analytical dissection of the ostinatos, and extraction of all of the unprotectable and
                 20 commonplace expression therein. Pursuant to this test, all of the claimed
                 21 similarities between the ostinato in “Joyful Noise” and Ostinato 2 in “Dark Horse”
                 22 must be extracted and filtered out because, as both parties’ experts agree, each of
                 23 those similarities is commonplace and unremarkable. Swirsky, 376 F.3d at 845.
                 24
                 25   Dr. Decker also admitted numerous differences between the works as wholes:
                      13

                    Ostinato 2 (the only portion Dr. Decker claims is similar to “Joyful Noise”) does
                 26 not play during 55% of the “Dark Horse” recording (id. p. 464 l. 24-465 l. 6);
                    “Dark Horse” and “Joyful Noise” are in different keys (id. p. 460 l. 5-25); and the
                 27 tempo, harmony, and harmonic rhythm of the works, and rhythm of the rap vocals
                    in the works, are different (id. p. 462 l. 1-6; 504 l. 11-25; 505 l. 1-5). It is also
    Mitchell     28 undisputed that “this lawsuit doesn’t involve lyrics.” WD, Ex. 6 p. 1174 l. 6-10.
  Silberberg &
   Knupp LLP
                                                                     25
11495919.1
                            MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 26 of 60 Page ID #:8252



                  1 When the commonplace similarities are removed, nothing remains other than
                  2 undisputed differences between the two ostinatos.
                  3         Nor do the allegedly infringed elements in the “Joyful Noise” ostinato
                  4 constitute a sufficiently original selection, arrangement, and coordination of
                  5 numerous enough commonplace elements to warrant copyright protection. Quite
                  6 the contrary. The centerpiece of Plaintiffs’ infringement claim—the pitch sequence
                  7 of 3, 3, 3, 3, 2, 2 (me, me, me, me, re, re) on evenly spaced notes—is a simplistic
                  8 iteration of two white keys next to each other on the keyboard. It is wholly
                  9 unremarkable, and concededly present in famous (and basic) compositions in the
                 10 public domain, including “Jolly Old St. Nicholas” and “Merrily We Roll Along.”
                 11         Dr. Decker’s other claimed similarities—which he alleged to constitute a
                 12 “combination” in tandem with the aforementioned trite similarity—are few in
                 13 number, also admittedly commonplace, and do not remotely change the analysis.
                 14 The 3, 2, 1 melodic progression is not only contained in Gottwald’s own prior art,
                 15 but moreover, it is what the ear expects to hear, and where the pitches “want to
                 16 go,” as Dr. Decker admitted. Supra § II.B.3.a. Dr. Decker further conceded that an
                 17 eight-note length is “characteristic for a phrase like this.” Id. Dr. Decker also
                 18 admitted that no composer can monopolize a “pingy” synthesizer tone, and that the
                 19 timbres of the ostinatos at issue are, in fact, different. Id. Finally, a “sparse” mix of
                 20 a recording is also commonplace in hip-hop and pop music (id.); moreover this is
                 21 an element of the sound recording, not the composition, and accordingly should
                 22 not even be considered as part of the substantial similarity analysis in any event.
                 23 Newton II, 388 F.3d at 1194 (“unique performance elements” of a sound recording
                 24 “must be filter[ed] out … from consideration.”).
                 25         Even if, arguendo, the commonplace similarities at issue were accorded
                 26 copyright protection in combination, the ostinato in “Joyful Noise” would at most
                 27 be entitled to a “thin” copyright that would only protect against “virtually
    Mitchell     28 identical” copying. Satava, 323 F.3d at 812. There is no dispute that the ostinatos
  Silberberg &
   Knupp LLP
                                                                26
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 27 of 60 Page ID #:8253



                  1 at issue are not virtually identical, but instead have significant differences. The thin
                  2 copyright doctrine properly applied resoundingly negates Plaintiffs’ infringement
                  3 claim for all of the legal and policy reasons discussed above.
                  4         No reasonable jury could have found for Plaintiffs on to the extrinsic test.
                  5                             (i)   The Intrinsic Test
                  6         Because the extrinsic test, properly applied, must result in a finding of no
                  7 substantial similarity, there should be no application of the intrinsic test. However,
                  8 a reasonable jury applying the intrinsic test also could never find substantial
                  9 similarity. The Court correctly explained to the jury that in applying the intrinsic
                 10 test, they must “determine whether … the total concept and feel of ‘Joyful Noise’
                 11 and ‘Dark Horse’ are substantially similar in original, protectable expression.”
                 12 Dkt. 441, Jury Instr. 37 (emphasis added). Because the ostinatos at issue have no
                 13 original, protectable expression in common, the intrinsic test cannot be met here.
                 14 Moreover, there is no dispute that the works wholes are very different (supra note
                 15 13), which further eliminates any finding of infringement under the intrinsic test.
                 16         C.    No Legally Sufficient Evidentiary Basis Supports The Jury’s
                                  Finding Of Access Based Solely On Plaintiffs’ Claim Of Alleged
                 17               Widespread Dissemination Of “Joyful Noise”
                 18         Proof of access requires “an opportunity to view or to copy plaintiff’s work.”
                 19 Loomis, 836 F.3d at 995. “To prove access, a plaintiff must show a reasonable
                 20 possibility, not merely a bare possibility, that an alleged infringer had the chance to
                 21 view the protected work.” Art Attacks Ink, LLC v. MGA Entm’t Inc., 581 F.3d
                 22 1138, 1143 (9th Cir. 2009). Put differently, a reasonable opportunity “does not
                 23 encompass any bare possibility in the sense that anything is possible.” Three Boys
                 24 Music Corp. v. Bolton, 212 F.3d 477, 482-84 (9th Cir. 2000) (quoting 4 Nimmer
                 25 on Copyright § 13.02[A] (1999)). A reasonable opportunity requires more than
                 26 mere speculation or conjecture. Id. Yet, the jury’s finding of access was just that:
                 27 mere speculation or conjecture.
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                               27
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 28 of 60 Page ID #:8254



                  1         Access can be proven through direct evidence of access or, “[w]here there is
                  2 no direct evidence of access, circumstantial evidence can be used to prove access
                  3 either by (1) establishing a chain of events linking the plaintiff’s work and the
                  4 defendant’s access, or (2) showing that the plaintiff’s work has been widely
                  5 disseminated.” Loomis, 836 F.3d at 995.
                  6         At trial, Plaintiffs conceded they had no proof for prong one above: no direct
                  7 evidence of access or circumstantial evidence establishing a chain of events linking
                  8 the plaintiff’s work and the defendant’s access. WD, Ex. 6 p. 1164 l. 7-14, 1166 l.
                  9 7-13.14 Plaintiffs solely relied on prong two above: widespread dissemination, and
                 10 thus had the burden to prove that “Joyful Noise” was so widely disseminated as to
                 11 make it reasonably possible that either Walter or Gottwald 15 had the opportunity to
                 12 hear it. As discussed below, however, no legally sufficient evidentiary basis exists
                 13 to support the jury’s finding that “Joyful Noise” was widely disseminated to
                 14 provide Walter or Gottwald with a reasonable opportunity to hear “Joyful Noise”
                 15 prior to creating “Dark Horse,” or to rebut Defendants’ showing that in all events
                 16 they did not avail themselves of any such opportunity. Dkt. 456, Ques. 4 & 5. At
                 17 best, Plaintiffs presented only a “mere scintilla” of evidence in support of their
                 18 widespread dissemination theory, which is insufficient. Letterman, 799 F.2d at
                 19 971. Further, the uncontroverted evidence proved that, whatever the reach of
                 20 “Joyful Noise,” neither Walter nor Gottwald (or any other defendant author for that
                 21   14
                         Plaintiffs admitted that they had never met, spoken to, or communicated with
                 22   any defendant author and never sent any music to them directly or through an
                      intermediary. WD, Ex. 2 p. 117 l. 12-120 l. 9; p. 217 l. 19-219 l. 19; WD, Ex. 3 p.
                 23   337 l. 6-338 l. 24. They also admitted that they had no knowledge of any defendant
                      author hearing “Joyful Noise” (id.), and each defendant author—without
                 24   contradiction—denied ever hearing it. WD, Ex. 4 p. 683 l. 6-14; p. 627 l. 7-21, 647
                      l. 22-650 l. 2; p. 595 l. 16-598 l. 2; p. 777 l. 11-780 l. 7; WD, Ex. 2 p. 168 l. 1-12.
                      15
                 25      At trial, Plaintiffs conceded that only Walter and Gottwald are relevant to access.
                      WD, Ex. 6 p. 1167 l. 2-9. The evidence proved that Walter and Gottwald created
                 26   the “Dark Horse” ostinatos on a single day in March 2013. No other defendant had
                      any involvement in creating the ostinatos. WD, Ex. 4 p. 334 l. 18-335 l. 13; p. 703
                 27   l. 10-704 l. 18, 707 l. 6-708 l. 4; WD, Ex. 2 p. 151 l. 3-153 l. 12; WD, Ex. 3 p. 531
                      l., 7-9, p. 531 l. 18-532 l. 5; WD, Ex. 2 p. 240 l. 4-11; WD, Ex. 4 p. 776 l. 2-22;
    Mitchell     28   WD, Ex. 3 p. 534 l. 6-24.
  Silberberg &
   Knupp LLP
                                                                28
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 29 of 60 Page ID #:8255



                  1 matter) availed himself of the opportunity to hear the song. Any other conclusion is
                  2 impermissible speculation. 16
                  3                1.     Plaintiffs’ Mischaracterization Of The Widespread
                                          Dissemination Doctrine Must Be Debunked.
                  4
                            Plaintiffs’ description of the widespread dissemination doctrine was
                  5
                      completely wrong. Plaintiffs claimed: “Joyful Noise” “was out there in the song
                  6
                      universe, and it was available to professional songwriters who make a living
                  7
                      listening to music” (WD, Ex. 6 p. 1167 l. 2-4). First, being “out there” is not the
                  8
                      test for widespread dissemination; nor should it be. 17 This argument promotes
                  9
                      nothing other than speculation in lieu of sound factual evidence demonstrating far
                 10
                      and wide reaching distribution of a musical work. Being “out there” in no way
                 11
                      shape or form constitutes “widespread dissemination” so as to support the
                 12
                      conclusion that “Mr. Gottwald and Mr. Walter had a reasonable opportunity to
                 13
                      hear [‘Joyful Noise’] … before they created Dark Horse’s instrumental” (id. p.
                 14
                      1167 l. 7-9).18 Second, Plaintiffs’ contention that “it was available to professional
                 15
                      songwriters who make a living listening to music” 19 is not only the antithesis of
                 16
                    16
                       At the hearing on Defendants’ motion for summary judgment, the Court
                 17 acknowledged    that it could reassess its decision as it related to the issue of access
                 18 evidence, if we do go toattrial,
                    after  hearing evidence    trial. WD, Ex. 36, p. 1916 l. 11-16 (“And after hearing
                                                     I may well come back and reassess based on Rule 50
                 19 make more sense to hear all therather
                    which   I sometimes  do  because         than granting summary judgment, it may
                                                       evidence and assess things.”). Indeed, Plaintiffs’
                 20 lack  of proof of access was confirmed at trial, and JMOL is mandated on access.
                    Archibald, 2018 WL 6017032, at *4 (denial of MSJ does not preclude JMOL);
                 21 Lillie, 2019 WL 3387732, at *22 (granting JMOL after denying summary
                    judgment on the same claims, noting that “[n]ow, viewing all the evidence in the
                 22 light  most favorable to plaintiff, the Court finds that the evidentiary record does
                    not permit a reasonable jury to” find in favor of the plaintiff).
                 23   17
                         Based on its plain meaning, “widespread” is synonymous with “extensive,” “far-
                      reaching,” and “sweeping.” See https://merriam-webster.com/thesaurus/
                 24   widespread.
                      18
                 25      This argument was presented on summary judgment, and Defendants submit
                      that, just as at trial, it was raised to confuse the Court and jury and to lessen
                 26   Plaintiffs’ burden on their sole access claim: widespread dissemination. Nothing in
                      the record or the law supports this theory and it must be soundly rejected.
                      19
                 27      WD, Ex. 6 p. 1167 l. 1-4 (Mr. Kahn: “Joyful Noise” “was available to
                      professional songwriters who make a living listening to music”), p. 1167 l. 5-12
    Mitchell     28   (Mr. Kahn: Walter and Gottwald “have an incentive to be out there listening”); p.
  Silberberg &
   Knupp LLP
                                                                29
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 30 of 60 Page ID #:8256



                  1 widespread dissemination as narrowly focuses solely on professional songwriters,
                  2 it is also a wholly incorrect factual statement (with zero proof and indeed contrary
                  3 proof) that professional songwriters make their living “listening to music.”
                  4         Indeed, Gottwald testified that, in his experience, while “people think, oh,
                  5 you just sit around and listen to music all day, …. in fact, that’s the opposite.” WD,
                  6 Ex. 4 p. 685 l. 5-7. He elaborated:
                  7                [T]he reality is that you can’t [] listen to two songs at the
                  8                same time. So if you’re working on music all the time,
                  9                um, which I have been for a very long time, you actually
                 10                listen to less music in my experience because also, when
                 11                you’ve been workin’ on it all night, you know, it’s—you
                 12                kind of want to get away from it sometimes.
                 13 Id. p. 685 l. 10-16. To the extent he did listen to music, he listened to music made
                 14 by him and people he worked with. Id. p. 687 l. 6-9. Walter concurred, testifying
                 15 that some days he is “creating so much music that I don’t feel like listening to any
                 16 more music” and that when he did listen to music, he would “throw on some of my
                 17 favorite music just to kind of relax or unwind.” Id. p. 656 l. 3-9. Both also testified
                 18 that they did not listen to religious music, including Christian hip-hop. Id. p. 648 l.
                 19 22-649 l. 3; 683 l. 15-24. This testimony was not contradicted or impeached. 20
                 20
                 21 1167 l. 24-1168 l. 1 (Mr. Kahn: “professional songwriters are more likely to pay
                    attention to songs that are getting recognized and are getting nominated”); p. 1168
                 22 l. 6-10 (Mr. Kahn: songwriters used Myspace pages “to seek out music”); p. 1170
                    l. 14-20 (Mr. Kahn: “[Y]ou’re a professional songwriter. And you’ve listened to
                 23 thousands and thousands of songs…”).
                      20
                 24     As discussed in more detail below, Walter and Gottwald also explicitly testified
                      that they did not search, including online, for music unknown to them, particularly
                 25   religious music such as Christian hip-hop, and did not pay attention to Grammy
                      nominations or Billboard charts other than for the categories that pertained to their
                 26   music and their careers—i.e., the pop categories. See infra § II.C.3. The testimony
                      of the other defendant authors—also professional songwriters—was in accord.
                 27   WD, Ex. 4, p. 598 l. 20-602 l. 2; p. 780 l. 2-19, p. 780 l. 24-782 l. 11; WD, Ex. 2 p.
                      148 l. 5-149 l. 14, p. 168 l. 13-170 l. 4, p. 170 l. 9-171 l. 2. This evidence was
    Mitchell     28   uncontroverted.
  Silberberg &
   Knupp LLP
                                                                30
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 31 of 60 Page ID #:8257



                  1         Plaintiffs’ counsel’s improper attempt to shed Plaintiffs’ widespread
                  2 dissemination burden and shift to Defendants a burden to disprove a false negative
                  3 inference about professional songwriters undoubtedly impacted the jury as it
                  4 promoted pure speculation. There is no legal or factual basis for his concocted
                  5 proposition that professional songwriters seek out new music, whether online or
                  6 otherwise, and it of course provides no substitute for evidence necessary to meet
                  7 Plaintiffs’ burden to prove widespread dissemination of “Joyful Noise.”
                  8                2.     Joyful Noise Was Disseminated, At Most, In A Niche
                                          Market, Was Not Nationally Well Known And Was Not
                  9                       Extensively Available To A Large Group On A Wide Scale
                 10                      a.     The Views Of “Joyful Noise” On YouTube And
                                                Myspace Were The Opposite Of Widespread; They
                 11                             Were Undisputedly De Minimis In The Context Of The
                                                Online World Of Music
                 12
                            Initially, “[t]he availability of a copyrighted work on the Internet, in and of
                 13
                      itself, is insufficient to show access through widespread dissemination.” Loomis v.
                 14
                      Cornish, 2013 WL 6044345, at *12 (C.D. Cal. Nov. 13, 2013), aff’d, 836 F.3d 991
                 15
                      (9th Cir. 2016); Batts v. Adams, 2011 WL 13217923, at *4 (C.D. Cal. Feb. 8,
                 16
                      2011) (“the posting of videos and/or songs on YouTube, Amazon.com, and iTunes
                 17
                      by an unknown singer...is hardly ‘widespread’ [dissemination] and, in fact, is quite
                 18
                      limited, and clearly insufficient to support a finding of access”).
                 19
                            Here, this Court is presented with the question as to whether Plaintiffs
                 20
                      presented sufficient non-speculative proof necessary to establish widespread
                 21
                      dissemination of “Joyful Noise” in the universe of content on the Internet, and in
                 22
                      light of how that content is obtained by users. Defendants respectfully submit that
                 23
                      Plaintiffs’ proof was woefully and indisputably insufficient.
                 24
                            On this issue, Plaintiffs relied solely on (1) six videos of “Joyful Noise”
                 25
                      available on YouTube with a cumulative “view” count of 3.88 million views
                 26
                      between 2008 and 2012 and (2) the presence of “Joyful Noise” on the Myspace
                 27
                      profile pages for Gray and Moore that had a cumulative “play” count of 2.49
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                31
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 32 of 60 Page ID #:8258



                  1 million plays during those same five years. While Plaintiffs’ counsel then argued
                  2 that these view counts proved the widespread dissemination of “Joyful Noise”
                  3 because “6 million is a big number” (WD, Ex. 6 p. 1167 l. 19), his argument is not
                  4 evidence. Plaintiffs bore the burden to prove that the view counts of “Joyful Noise”
                  5 indeed constituted widespread dissemination in the context of those platforms.
                  6 They completely failed to do so, which alone warrants rejecting the jury’s finding
                  7 of widespread dissemination.
                  8         Consistent with their false premise that widespread dissemination is equal to
                  9 a work being “out there,” Plaintiffs would have this Court ignore what widespread
                 10 dissemination means in the context of online music. Indeed, it was Defendants who
                 11 demonstrated by unrebutted evidence the insignificance of Plaintiffs’ numbers in
                 12 the context of the universe they relied on. Defendants’ evidence established that
                 13 the “Joyful Noise” view counts are a miniscule drop in the bucket when compared
                 14 to the trillions of views/plays that YouTube and Myspace received during the
                 15 same time period. The “Joyful Noise” view/play counts at issue do not remotely
                 16 suggest widespread dissemination affording Walter and Gottwald a reasonable
                 17 opportunity to find and listen to “Joyful Noise” on YouTube and Myspace.
                 18         As demonstrated by the stipulated facts and unrebutted testimony of Bill
                 19 Rosenblatt regarding the YouTube platform, Plaintiffs’ six videos were among
                 20 billions of other available videos during the relevant time period, including
                 21 hundreds of millions of music videos alone. WD, Ex. 4 p. 764 l. 24-766 l. 10, p.
                 22 767 l. 11-21, p. 768 l. 8-24; Wais Decl, Ex. 5 p. 981 l. 4-982 l. 14. A view count of
                 23 3.88 million pales compared to the 4.14 trillion total views of videos during the
                 24 relevant time period. WD, Ex. 4 p. 768 l. 8-771 l. 3; Wais Decl, Ex. 5 p. 979 l. 12-
                 25 980 l. 7. Critically, Rosenblatt testified that to find a “Joyful Noise” video on
                 26 YouTube, a user would have had to take affirmative steps to search for it by the
                 27 song or artist’s name; otherwise, trying to find it would be like trying to find six
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                               32
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 33 of 60 Page ID #:8259



                  1 people in China without knowing their names. This testimony was unrebutted.
                  2 Wais Decl, Ex. 5 p. 985 l. 14-987 l. 1.
                  3         Regarding the Myspace platform, Defendants’ expert Zachary St. Martin
                  4 testified that the two Myspace pages presented by Plaintiffs were two out of 265
                  5 million registered accounts, and that “Joyful Noise” was one song out of up to 53
                  6 million songs from over 14 million artists. WD, Ex. 4 p. 800 l. 12-801 l. 11. He
                  7 also testified that the 2.49 million plays of “Joyful Noise” over four years were
                  8 dwarfed by the billion plays every month that occurred during the same time
                  9 period. Id. St. Martin also testified that the primary ways in which users could
                 10 access a song on Myspace were by searching for a particular artist or song that the
                 11 user already knew about and that users were not satisfied with search features of
                 12 Myspace because “there was so much music on the site and the ability to find it
                 13 was rudimentary.” Id. p. 795 l. 9-797 l. 24, p. 798 l. 17-24, p. 801 l. 12-802 l. 2.
                 14 Songs “featured” on Myspace were popular, mainstream songs in the rap, rock, and
                 15 pop genres, not religious music or Christian hip-hop. Id. And the genre page would
                 16 have to be expanded to locate any Christian categories within the alphabetical list
                 17 of genres. Id. p.799 l.10-800 l.11 21
                 18         Accordingly, there was no legally sufficient evidentiary basis for a
                 19 reasonable jury to conclude Plaintiffs proved widespread dissemination of “Joyful
                 20 Noise” based on the 6 million views/plays 22 in the context of YouTube and
                 21 Myspace. As a matter of law and undisputed fact, these numbers cannot be
                 22 considered widespread dissemination in the massive universe of online content.
                 23
                    21
                       Plaintiffs had no proof that any of the “Dark Horse” writers searched for
                 24 Christian  rap on YouTube or Myspace, as was Plaintiffs’ burden. Moreover, again,
                    Walter  and  Gottwald testified that they had never heard of Plaintiffs or their music,
                 25 including “Joyful  Noise,” before this lawsuit and did not search online for or listen
                    to
                 26 22 religious  music, including Christian hip-hop. Infra § II.C.3.
                       Additionally, the undisputed evidence at trial established that view counts are
                 27 inherently unreliable, because there are repeat listeners and both YouTube and
                    Myspace suffered from view/play artificial inflation through the use of bots and
    Mitchell     28 paid views/plays. WD, Ex. 4 p. 767 l. 22-768 l. 7; WD, Ex. 5 p. 989 l. 15-990 l. 18.
  Silberberg &
   Knupp LLP
                                                               33
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 34 of 60 Page ID #:8260



                  1 There is also an unrebutted bar to entry into that massive universe by virtue of the
                  2 fact that search terms need to be employed to find a work. Plaintiffs proffered no
                  3 evidence, and none exists, that any defendant searched for “Joyful Noise.”23
                  4         This unrebutted evidence shows Plaintiffs’ claim of access to “Joyful Noise”
                  5 is wholly speculative and without any evidentiary support from which to infer that
                  6 any defendant had a reasonable opportunity to hear it. It is “the modern day
                  7 equivalent of looking for a needle in a haystack—where the alleged seeker does
                  8 not know the needle exists, and isn’t looking for it.” Batts, 2011 WL 13217923, at
                  9 *4 (using this analogy to describe the “posting of videos and/or songs on YouTube,
                 10 Amazon.com, and iTunes by an unknown singer”); see also Loomis, 836 F.3d at
                 11 998 (“Although there was a bare possibility that they heard Bright Red Chords on
                 12 the radio, or that they read about Loomis and the Lust in a magazine in the break
                 13 room of Playback Studios, or that they picked up one of Loomis’s promotional
                 14 CDs while at Playback, that is not enough to raise a triable issue of access.”); id.
                 15 (quoting Nimmer explaining that “evidence showing that Gloria Estefan was
                 16 present in a room with 15,000 records, including one containing plaintiff’s song”
                 17 was insufficient to demonstrate access). Nothing in this record demonstrates
                 18 anything remotely close to widespread dissemination of “Joyful Noise”—it offers
                 19 only sheer speculation as to access which is legally insufficient.
                 20                      b.     Plaintiffs Had Virtually No Evidence Of Traditional
                                                Dissemination Of “Joyful Noise”
                 21
                            Since Plaintiffs failed to prove widespread dissemination of Joyful Noise
                 22
                      online, by their YouTube and Myspace views or otherwise, as discussed above, it
                 23
                      was incumbent upon them to fill that void with proof that could constitute “brick
                 24
                      23
                 25   In this regard, Loomis confirms that it is also relevant that Plaintiffs and
                    Defendants operate in different music universes, a distinction that both sides
                 26 agreed upon. See WD, Ex. 3, p. 336 l. 13-337 l. 22 (Gray, Lambert, and Moore all
                    perform in the genre of Christian rap and, in that genre, they “cross paths and
                 27 encounter each other on a regular basis” but had never met or communicated with
                    any of the “Dark Horse” authors); WD, Ex. 4 p. 668 l. 13-669 l. 6; see also supra
    Mitchell     28 notes 14 & 20.
  Silberberg &
   Knupp LLP
                                                               34
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 35 of 60 Page ID #:8261



                  1 and mortar” widespread distribution of Joyful Noise through traditional channels
                  2 (e.g., sales, concerts, radio). There was no such widespread dissemination proof as
                  3 a matter of law and undisputed fact.
                  4         •     Sales: Plaintiffs did not offer proof of one single digital or brick-and-
                  5 mortar sale of “Joyful Noise” or Our World Redeemed and admitted that they have
                  6 no such evidence. WD, Ex. 3 p. 354 l. 2-5; WD, Ex. 2 p. 120 l. 22-121 l. 8; WD,
                  7 Ex. 4 p. 736 l. 10-15. Thus, Plaintiffs failed to prove “Joyful Noise” or Our World
                  8 Redeemed were sold at all, let alone in quantities sufficient to prove widespread
                  9 dissemination.
                 10         •     Radio/TV24: Plaintiffs did not prove that “Joyful Noise” received any
                 11 radio or television play. Even if Gray’s testimony that it “may” have played in the
                 12 background during, at most, a few hundred of his interviews touring unknown
                 13 stations, at unknown times, and reaching an unknown audience, is credited, that
                 14 testimony of course fails entirely to show any widespread dissemination by this
                 15 means. WD, Ex. 2 p. 261 l. 3-11. There were absolutely no documents admitted
                 16 regarding this channel of distribution.
                 17         •     Live Performances 25: Plaintiffs did not have any documentary
                 18 evidence that Gray (or Lecrae Moore) performed “Joyful Noise” at large concerts
                 19 attended by large crowds. Plaintiffs did not even have any documentary evidence
                 20 showing it was played at any venue. Instead, Plaintiffs only testified that the two
                 21 performed the song, at most, about 300 times over several years at unknown
                 22 venues to audiences of unknown size. Their testimony confirmed that 70 percent of
                 23 these concerts were at churches and other religious venues (WD, Ex. 3, p. 349 l.
                 24
                    24
                       On summary judgment, the Court did not rely on evidence of radio and TV
                 25 interviews  because of the lack of “any evidence identifying the names of the
                    television and radio stations that Gray claims to have been interviewed by.” Dkt.
                 26 299, pp. 6-7, n.3. Plaintiffs’ evidence was no better at trial.
                      25
                 27   On summary judgment, the Court noted that Plaintiffs failed to “identify[] the
                    names of the venues where Gray performed or the size of the audience at any of his
    Mitchell     28 performances.” Dkt. 299, pp. 6-7, n.3. Plaintiffs’ evidence was no better at trial.
  Silberberg &
   Knupp LLP
                                                               35
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 36 of 60 Page ID #:8262



                  1 16-18; WD, Ex. 4 p. 723 l. 7-11, p. 743 l, 11-13) and, of the remaining 30 percent,
                  2 “a good portion” of those venues were still religious themed events. WD, Ex. 3 p.
                  3 406 l. 17-407 l. 8. Plaintiffs only testified to this; they presented no corroborating
                  4 evidence such as set lists or tapes of such performances. This testimony is not
                  5 evidence of widespread dissemination of “Joyful Noise”; and plaintiffs have no
                  6 proof, as none exists, that any defendant attended any of these 300 concerts.
                  7         •      Critical Acclaim: Plaintiffs did not prove critical acclaim that would
                  8 suggest that anyone other than those who follow Christian and Gospel music
                  9 would have been made aware of “Joyful Noise.” While Plaintiffs presented
                 10 evidence that “Joyful Noise” and Our World Redeemed appeared on Billboard
                 11 charts in the Christian and Gospel music categories and were also nominated for
                 12 music awards in Christian or gospel music categories, these charts and nominations
                 13 do not evidence the reach of “Joyful Noise.” All this evidence proves is that the
                 14 name of a song or an album appeared on a chart or list of nominees for awards in a
                 15 niche genre of music Defendants did not know about and had no interest in
                 16 following. It is speculation to surmise from this that it is reasonably possible that
                 17 someone saw the name of the song, sought the song out, and listened to it. This is
                 18 particularly true for a niche genre like Christian hip hop.26 Plaintiffs’ evidence
                 19 merely shows that the song achieved some amount of critical acclaim in the genre
                 20 of Christian music—a genre that both Walter and Gottwald testified that they did
                 21 not follow. Importantly, Plaintiffs presented no evidence to the contrary, nor did
                 22 they otherwise impeach or rebut that testimony. See infra § II.C.3.
                 23         Whether the Court considers this evidence by individual category or in the
                 24 aggregate, the case law makes clear that this sparse level of dissemination cannot
                 25   26
                      In fact, Billboard produces nearly 200 charts a week, of which Christian and
                 26 Gospel music categories are just two. Billboard’s most popular charts are the
                    Billboard Top 100 and the Billboard 200 and the charts relating to mainstream Top
                 27 40, rock, R&B and hip hop, and country music are larger in terms of market
                    volume and audience volume than the charts relating to gospel and Christian. WD,
    Mitchell     28 Ex. 5 p. 1011 l. 1-13.
  Silberberg &
   Knupp LLP
                                                               36
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 37 of 60 Page ID #:8263



                  1 reasonably support a finding of widespread dissemination. See, e.g., Loomis, 836
                  2 F.3d at 994 (where the plaintiff’s song had won several awards, the Court found
                  3 that, “[d]espite these achievements, Bright Red Chords was not commercially
                  4 successful”); Art Attacks Ink, 581 F.3d at 1144 (T-shirt design not widely
                  5 disseminated where plaintiff sold 2,000 shirts a year and displayed the design at
                  6 fair booths and store kiosks); Rice v. Fox Broad. Co., 330 F.3d 1170, 1178 (9th
                  7 Cir. 2003) (no widespread dissemination where plaintiff sold 17,000 copies of a
                  8 video over a 13 year period); Loomis, 2013 WL 6044345, at *11 (“evidence of
                  9 small circulation . . . or local air time without other proof of access is generally not
                 10 enough to demonstrate a reasonable possibility of access”); Jason v. Fonda, 526 F.
                 11 Supp. 774, 776-77 (C.D. Cal. 1981) (book sales of no more than 2,000 copies
                 12 nationwide and no more than 700 copies in Southern California were insufficient).
                 13         In short, Plaintiffs were obligated to prove actual sales, radio plays, and
                 14 concert performances. In this regard, context matters. Simply saying that “Joyful
                 15 Noise” was “out there,” without proof of a sufficient number, level, or volume of
                 16 sales, radio plays, or performances, is wholly insufficient. All that Plaintiffs proved
                 17 here is speculation and a bare possibility of access through these channels, if that.27
                 18         The rule of widespread dissemination must be properly applied because
                 19 otherwise there cannot be a reasonable opportunity for any defendant to hear
                 20 “Joyful Noise.” Again, Plaintiffs have never claimed, nor can they, that any chain
                 21 or conduit exists. They must therefore show that “Joyful Noise” had a sufficiently
                 22   27
                       Even cases finding access make clear that context matters and that the plaintiff
                 23 has a duty to present evidence of dissemination sufficient to give rise to a
                    reasonable opportunity of access. In Three Boys Music Corp., for example, the
                 24 Ninth Circuit upheld a jury’s finding that it was reasonable for the jury to infer that
                    the songwriters, Bolton and Goldmark, had heard plaintiff’s song because it “was
                 25 widely disseminated on radio and television stations where Bolton and Goldmark
                    grew up” (Three Boys Music Corp., 212 F.3d at 483-84) (emphasis added) and
                 26 Bolton also admitted that he “grew up listening to groups such as the Isley
                    Brothers,” was a “huge fan,” a “collector of their music,” “kn[ew] everything [the
                 27 Isley Brothers had] done” (id.), and had even expressed concern to his co-writer
                    that they “were copying a song by another famous soul singer.” Id. at 484. Such
    Mitchell     28 evidence is completely lacking here.
  Silberberg &
   Knupp LLP
                                                               37
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 38 of 60 Page ID #:8264



                  1 wide reach on commercial platforms such that there can be a reasonable inference
                  2 of access. Plaintiffs woefully failed to carry this burden. 28 Even if one combined
                  3 the drop in the bucket Internet evidence with the sparse traditional dissemination
                  4 proof, the unquestionable conclusion remains that there was no widespread
                  5 dissemination of “Joyful Noise.” Both the online and the brick and mortar proofs
                  6 of dissemination were quantifiably extremely low, not remotely widespread.
                  7                  3.    The Evidence Showed That Defendants Did Not Avail
                                           Themselves Of The Opportunity To Hear “Joyful Noise”
                  8
                               In the face of this deficient proof of widespread dissemination, judgment for
                  9
                      Defendants is even more warranted by Defendants’ unrebutted and unimpeached
                 10
                      evidence that they did not avail themselves of any alleged opportunity to hear
                 11
                      “Joyful Noise” and, thus, did not copy. See WD, Ex. 4 p. 647 l. 22-650 l. 2, p. 650
                 12
                      l. 8-651 l. 10, p. 652 l. 9-16, p. 660 l. 7-16, p. 681 l. 22-684 l. 24, 688 l. 13-22, p.
                 13
                      695 l. 17-19. 29 This dispels any inference of copying. See Dkt. 403, p. 3 (citing 4
                 14
                      Nimmer on Copyright, § 13.02[A]). Plaintiffs offered no impeachment or other
                 15
                      evidence, and none exists, to contradict this testimony. Indeed, Walter and
                 16
                      Gottwald, who testified they never heard of Plaintiffs or their music, including
                 17
                      “Joyful Noise,” also:
                 18
                               •     Explicitly disclaimed searching online for music unknown to them,
                 19
                      particularly religious music such as Christian hip-hop. See WD, Ex. 4 p. 650 l. 3-
                 20
                      651 l. 10 (Walter did not use Myspace to search for music or “browse” YouTube
                 21
                    28
                       Plaintiffs had no alternative theory as they did not present any evidence that
                 22 Gottwald   or Walter listened to, sought out, or followed religious music or attended
                 23 contrary. WD, Ex. including
                    religious  concerts,            those of Gray and Moore. The evidence was to the
                                         4 p. 647 l. 22-650 l. 2; p. 651 l. 5-10; p. 683 l. 15-684 l. 24. The
                 24 other  defendant authors’ testimony was in accord. WD, Ex. 2 p. 168 l. 1-170 l. 4, p.
                    171 l. 3-9; WD, Ex. 4 p. 592 l. 14-597 l. 18; p. 772 l. 22-774 l. 21, p. 777 l 11-779
                 25 l. 17. See Loomis, 836 F.3d at 998 (no triable issue of fact arose from Santa
                    Barbara music scene being saturated with “Bright Red Chords” because the
                    “Domino” songwriters were not participating in that scene); Guzman v. Hacienda
                 26 Records   & Rec. Studio, Inc., 2014 WL 6982331, at *5-6 (S.D. Tex. Dec. 9, 2014),
                 27 it “did notF.3d
                    aff’d 808       1031 (5th Cir. 2015) (a song was not “widely disseminated” where
                                achieve popularity outside of the Tejano music scene”).
                      29
    Mitchell     28        See also supra note 14.
  Silberberg &
   Knupp LLP
                                                                  38
11495919.1
                             MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 39 of 60 Page ID #:8265



                  1 or look for religious music or Christian rap; he would “search for [his] favorite
                  2 songs,” listen to a song that a friend sent him a link to, or to “look up a funny
                  3 video”); p. 670 l. 25-671 l. 2 (Gottwald “may have listened to music on MySpace
                  4 if it was referred to me by somebody”); p. 688 l. 23-689 l. 6 (Gottwald explained
                  5 that “he is focused in the pop music genre” and has “never really looked at
                  6 [Christian music]”). See also supra notes 14 & 28.
                  7         •      Explicitly testified that they did not know Gray or Moore and never
                  8 attended one of their concerts; never attended concerts of religious music; and did
                  9 not listen to religious music, including Christian hip-hop, meaning they were not
                 10 listening to the radio stations and shows on which Gray purportedly appeared. WD,
                 11 Ex. 4 p. 647 l. 22-650 l. 2, p. 681 l. 22-674 l. 24.
                 12         •      Explicitly testified that they never listened to or heard of “Joyful
                 13 Noise” or Our World Redeemed prior to the filing of the instant action. Id. p. 627 l.
                 14 7-21, p. 649 l. 12-15 ; p. 683 l. 6-14.30
                 15         Finally, as to the Billboard charts and Grammy nomination, Walter and
                 16 Gottwald testified that they barely paid attention to either and, when they did, they
                 17 only paid attention to the categories that pertained to their music and their
                 18 careers—i.e., the pop categories. Id. p. 616 l. 7-13; 651 l. 14-652 l. 2 (Walter
                 19 looked at Billboard’s Hot 100 chart but did not look at charts that his music was
                 20 not on or outside the Top 100); 652 l. 9-16 (Walter would pay attention to “Song of
                 21 the Year, Record of the Year” and “that’s kind of [] about it”; he was “not [] an
                 22 enthusiastic [] Grammy follower or watcher” and did not follow any of the awards
                 23 in any of the gospel or religious music categories); 686 l. 25-687 l. 5; p. 688 l. 1-22
                 24 (Gottwald, at times, looked at Billboard’s Hot 100 but would mostly just look at
                 25 “Top 10 of the Nielsen for pop” or the “top 10 of Media Base for radio”; he never
                 26 looked at gospel or Christian rap charts or religious music charts).
                 27   30
                      Nor was there any evidence proffered at trial to suggest that either Gottwald or
    Mitchell
                    Walter purchased “Joyful Noise” or Our World Redeemed, as there was no
                 28 evidence
  Silberberg &               presented that anyone bought the song or album.
   Knupp LLP
                                                           39
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 40 of 60 Page ID #:8266



                  1         Defendants unquestionably established with unrebutted testimony,
                  2 particularly in the context of the sparse proof Plaintiffs presented, that they did not
                  3 avail themselves of any opportunity to hear “Joyful Noise.”
                  4         D.     No Legally Sufficient Evidentiary Basis Supports The Jury’s
                                   Finding That Defendants Did Not Independently Create “Dark
                  5                Horse”
                  6         A prima facie claim of copying can be rebutted by showing that the alleged
                  7 infringing work was independently created. Three Boys Music, 212 F.3d at 486
                  8 (“By establishing reasonable access and substantial similarity, a copyright plaintiff
                  9 creates a presumption of copying. The burden shifts to the defendant to rebut that
                 10 presumption through proof of independent creation.”) (citing Granite Music Corp.
                 11 v. United Artists Corp., 532 F.2d 718, 721 (9th Cir. 1976)); see also Herbert
                 12 Rosenthal Jewelry Corp. v. Kalpakian, 446 F.2d 738, 741 (9th Cir. 1971) (“It is
                 13 true that defendants had access to plaintiff’s [copyrighted] pin and that there is an
                 14 obvious similarity between plaintiff’s pin and those of defendants. These two facts
                 15 constitute strong circumstantial evidence of copying. But they are not conclusive,
                 16 and there was substantial evidence to support the trial court’s finding that
                 17 defendant’s pin was in fact an independent creation.”) (citations omitted).
                 18         Here, Defendants presented affirmative evidence of independent creation
                 19 that Plaintiffs failed to rebut or impeach. Specifically, Walter first testified about
                 20 his creative process that led to the creation of the beat, including Ostinatos 1 and 2,
                 21 which would eventually become the musical bed of “Dark Horse.” WD, Ex. 4 p.
                 22 634 l. 10-639 l. 9. He testified that, in March 2013, while he and Gottwald were at
                 23 Conway Studios waiting for an artist to show up, he took out his equipment and
                 24 started playing music. Id. p. 635 l. 4-24. He eventually played a simple downward
                 25 run of phrases—3, 2, 1, 5 (Ostinato 1). Id. p. 636 l. 24-637 l. 14. He liked the
                 26 sound so he recorded it to his music program, Cubase, and looped it. Id. However,
                 27 after about 13 seconds, the intro started to sound repetitive, so Walter decided to
    Mitchell     28 stretch the notes out and slow it down to give it some space for an eventual verse.
  Silberberg &
   Knupp LLP
                                                                40
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 41 of 60 Page ID #:8267



                  1 Id. p. 637 l. 16-639 l. 9. In doing so, he simply kept his fingers on the same keys
                  2 and stretched it out by repeating the keys. Id. He repeated the 3 four times, the 2
                  3 two times, and again played the 1 and the 5, turning it into 3, 3, 3, 3, 2, 2, 1, 5
                  4 (Ostinato 2). Id. Then he added some drum sounds, copied Ostinato 1 into the
                  5 chorus, and made some additional modifications. Id. p. 639 l. 10-22. At that point,
                  6 Gottwald joined Walter and suggested adding some different underlying bass notes
                  7 to give it more depth. Id.; see also id. p. 639 l. 23-640 l. 17. Defendants introduced
                  8 this initial instrumental track, titled “Oh No!” into evidence. WD, Ex. 24. 31
                  9         This testimony is also highly important in this case generally, because it
                 10 shows as a matter of undisputed fact that Ostinato 1 in “Dark Horse,” which Dr.
                 11 Decker admitted was not infringing (supra § II.B.3.a) was created first by Walter,
                 12 and it has the exact same pitches (3, 2, 1, 5) that are found in Ostinato 2 of “Dark
                 13 Horse.” This salient and undisputed fact not only demonstrates that the allegedly
                 14 infringed music is commonplace, unprotectable expression, it unequivocally
                 15 establishes that Defendants carried their burden of proving independent creation.
                 16         E.     No Legally Sufficient Evidentiary Basis Supports The Jury’s
                                   Finding That The Inclusion Of Ojukwu’s Beat In “Joyful Noise”
                 17                Is Part Of A Joint Work of Authorship
                 18         In order to prevail on a copyright infringement claim, a plaintiff must prove
                 19 that it owns the expression that is allegedly infringed. Loomis, 836 F.3d at 994.
                 20 Furthermore, under 17 U.S.C. § 411(a), “no civil action for infringement of the
                 21 copyright in any United States work shall be instituted until preregistration or
                 22 registration of the copyright claim has been made in accordance with this title.”
                 23 Without a registration that covers the expression that the plaintiff contends was
                 24   31
                       They and the other “Dark Horse” authors also testified about the process by
                 25 which they then created “Dark Horse” through songwriting sessions in Santa
                    Barbara with Perry, Sarah Hudson, and Max Martin, the addition of a rap verse by
                 26 Houston, and the continued refinement of the song. WD, Ex. 2 p. 160 l. 23-162 l.
                    11; WD, Ex. 3 p. 535 l. 18-536 l. 4; WD, Ex. 4 p. 642 l. 11-643 l. 18; p. 706 l. 9-
                 27 15; p. 594 l. 4-595 l. 15; p. 644 l. 15-646 l. 8; p. 706 l. 16-707 l. 5; p. 775 l. 23-776
                    l. 10. Ostinato 1 and 2, however, remained the same from the original beat created
    Mitchell     28 by Walter. Id. p. 646 l. 13-647 l. 3; p. 707 l. 6-708 l. 4.
  Silberberg &
   Knupp LLP
                                                                41
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 42 of 60 Page ID #:8268



                  1 infringed, there is no claim.
                  2         Here, Plaintiffs only claim infringement of the ostinato in “Joyful Noise,”
                  3 part of the beat that Plaintiff Chike Ojukwu created. Ojukwu’s beat was a pre-
                  4 existing work that Ojukwu published to his Myspace page, and which Gray
                  5 purchased and later incorporated into “Joyful Noise.” WD, Ex. 2 p. 183 l. 17-184 l.
                  6 1, 118:19-119:3, p. 194 l. 19-22; WD, Ex. 3 p. 356 l. 6-8. Ojukwu’s pre-existing
                  7 beat is not part of a joint work with the rest of “Joyful Noise”; rather “Joyful
                  8 Noise” is a derivative work incorporating his beat. Since the copyright in this
                  9 derivative work does not protect the preexisting material embodied in the beat (17
                 10 U.S.C. § 103),32 Plaintiffs cannot establish ownership of the beat or that their
                 11 registration covers the beat.
                 12         There are three criteria for determining whether a work is jointly authored,
                 13 the “most important” of which is whether the alleged author “superintended the
                 14 work by exercising control.” Richlin v. Metro-Goldwyn-Mayer Pictures, Inc., 531
                 15 F.3d 962, 968 (9th Cir. 2008) (citing Aalmuhammed v. Lee, 202 F.3d 1227, 1234
                 16 (9th Cir. 2000)). Here, the undisputed evidence showed that Ojukwu had no
                 17 control whatsoever over “Joyful Noise.” After he sold the beat to Gray, Ojukwu
                 18 had no input into the lyrics or the mixing and mastering of “Joyful Noise”; no input
                 19 into the decision to replace the synthesizer sounds in the beat with guitars; and did
                 20 not receive any versions of “Joyful Noise” until after the song was finalized. WD,
                 21 Ex. 2 p. 213 l. 16-25; 215 l. 2-16.
                 22         Plaintiffs also made no objective manifestations of intent to be co-authors.
                 23 They made no agreement concerning ownership of the beat or any subsequent
                 24
                      32
                 25   Although the copyright registration for “Joyful Noise” states that it is a “joint
                    work,” this is not prima facie evidence of the validity of the copyright or of the
                 26 facts stated in the certificate because the registration was not made within five
                    years after first publication of “Joyful Noise.” 17 U.S.C. § 410(c). The registration
                 27 for “Joyful Noise” should be accorded “no weight.” See, e.g., Blue Underground
                    Inc. v. Caputo, 2015 WL 12683972, at *5 (C.D. Cal. Mar. 16, 2015) (citing Sem-
    Mitchell     28 Torq, Inc. v. KMart Corp., 936 F.2d 851, 853-54 (6th Cir. 1991)).
  Silberberg &
   Knupp LLP
                                                               42
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 43 of 60 Page ID #:8269



                  1 work by Gray that incorporated the beat (id. p. 209 l. 3-12; WD, Ex. 3 p. 359 l. 4-
                  2 9); had no discussions about the type of agreement for the purchase of the beat
                  3 (WD, Ex. 2 p. 210 l. 1-10); and Ojukwu did not even know Gray was going to pay
                  4 him for the beat (id. p. 209 l. 3-12). In the liner notes for “Joyful Noise,” Ojukwu
                  5 was not listed as a “writer.” WD, Ex. 19. 33 When “Joyful Noise” was nominated for
                  6 a Dove Award, he was not listed as a “writer.” WD, Ex. 17; WD, Ex. 3 p. 363 l. 7-
                  7 367 l. 10, p. 407 l. 9-409 l. 14. At no point until 2014, after this lawsuit was filed,
                  8 did Ojukwu enter into any written agreement concerning any ownership in “Joyful
                  9 Noise.” WD, Ex. 2 p. 211 l. 20-23, p. 212 l. 5-9; WD, Ex. 3 p. 389 l. 4-7. 34
                 10         Under these circumstances, it is clear that “Joyful Noise” was not a joint
                 11 work incorporating Ojukwu’s beat. Ford v. Ray, 130 F. Supp. 3d 1358, 1362-64
                 12 (W.D. Wash. 2015), is illustrative. In that case, the plaintiff claimed that he was a
                 13 joint author of the song “Baby Got Back” because he created the “beat” for the
                 14 song. In finding that the plaintiff was not a joint author, the court relied on the fact
                 15 that, “[a]lthough plaintiff possessed initial control over his contribution to ‘Baby
                 16 Got Back,’ the ultimate decision as to how or whether to incorporate plaintiff’s
                 17 creations was left to defendant.” Id. at 1363. As the court noted, “[t]he choices
                 18 regarding whether to use one of the beats, in whole or in part, and whether to make
                 19 alterations to the track rested entirely with defendant.” Id.
                 20         This case is no different. The evidence at trial demonstrated not only that
                 21 Ojukwu did not “superintend[] the work by exercising control,” there is no
                 22 evidence that he had any role in even deciding whether his beat was incorporated
                 23 in “Joyful Noise.” Accordingly, Ojukwu cannot be said to be a joint author of
                 24   33
                         He was listed as a “producer,” and admitted that he understands that there are
                 25   differences between producers and writers. WD, Ex. 2 p. 226 l. 18-21.
                      34
                         Agreements executed after the creation of “Joyful Noise” cannot retroactively
                 26   create a joint work. 17 U.S.C. § 101; see also Batiste v. Island Records Inc., 179
                      F.3d 217, 222 (5th Cir. 1999) (noting that the Copyright Act of 1976 “overruled
                 27   the so-called ‘Twelfth Street Rag’ doctrine, which had allowed an assignee of an
                      ownership interest in a composition to add elements to a pre-existing work and
    Mitchell     28   create a “joint work”).
  Silberberg &
   Knupp LLP
                                                                43
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 44 of 60 Page ID #:8270



                  1 “Joyful Noise.” Instead, “Joyful Noise” is a derivative work incorporating the beat,
                  2 and the copyright in “Joyful Noise” does not protect the preexisting material
                  3 embodied in the beat. 17 U.S.C. § 103.
                  4         F.    No Legally Sufficient Evidentiary Basis Supports The Jury’s
                                  Finding Of Liability As To Multiple Defendants
                  5
                  6         Even if, arguendo, the jury could have properly concluded that “Dark

                  7 Horse” infringes “Joyful Noise”—and it could not—there still was no basis to
                  8 support the jury’s finding of liability against numerous of the Defendants. A
                                                                                          35
                  9 plaintiff in a copyright case may only recover for direct infringement against a
                 10 defendant “who violates any of the exclusive rights of the copyright owner,”
                 11 namely: the rights to reproduce, prepare derivative works, distribute, publicly
                 12 perform, and display the copyrighted work. 17 U.S.C. §§ 501, 106. Here, Plaintiffs
                 13 failed to present sufficient evidence of direct infringement by Kobalt Music
                 14 Publishing America, Inc. (“Kobalt”), WB Music Corp. (“WB”), Kasz Money, Inc.
                 15 (“KMI”), Katheryn Hudson, Gottwald, Sarah Hudson, Sandberg, and Houston.
                 16      As to Kobalt and WB, the sole evidence that Plaintiffs presented was that

                 17 they “provide[] music publishing administrative services” for certain Defendants
                 18 with respect to “Dark Horse.” WD, Ex. 34. Plaintiffs presented no evidence about
                 19 what “administrative services” means, and no evidence to demonstrate that such
                 20 activity violates any of the exclusive rights. Further, as the Court noted, 17 U.S.C.
                 21 § 106 “does not include publishing” as an exclusive right. WD, Ex. 6 p. 1117 l. 7-
                 22 9. Similarly, as to KMI, the sole evidence Plaintiffs presented was that it
                 23 “furnished the production services of Walter and Gottwald for the ‘Dark Horse’
                 24 sound recording.” WD, Ex. 34. Plaintiffs presented no evidence of what it means to
                 25 “furnish” “production services,” or that doing so violates an exclusive right.
                 26
                      35
                 27   Plaintiffs asserted no claim against any defendant for vicarious or contributory
                    infringement. WD, Ex. 5 p. 1030 l. 2-9; WD, Ex. 6 p. 1104 l. 22-23, p. 1107 l. 20-
    Mitchell     28 1108 l. 7 & p. 1110 l. 5-6.
  Silberberg &
   Knupp LLP
                                                              44
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 45 of 60 Page ID #:8271



                  1         As the Court aptly observed after all of the evidence had been presented in
                  2 the liability phase, “I’m not sure what all these [corporate] entities did [in
                  3 connection with “Dark Horse”] and I’m not sure the jury does either based on the
                  4 evidence before us. . . .” WD, Ex. 6 p. 1104 l. 10-12.
                  5         Plaintiffs similarly failed to present any evidence that Katheryn Hudson,
                  6 Gottwald, Sarah Hudson, Sandberg, or Houston copied or distributed “Joyful
                  7 Noise,” or violated any exclusive right under the Copyright Act. Supra § II.D &
                  8 notes 14, 15, 28 & 31. 36 Instead, at trial, Plaintiffs merely contended that these
                  9 individuals were all liable for copyright infringement simply by virtue of being co-
                 10 owners of the copyright in the “Dark Horse” composition. However, as the Court
                 11 acknowledged, all co-owners of a copyrighted work are not automatically liable for
                 12 direct copyright infringement by the mere fact of their co-ownership. WD, Ex. 6 p.
                 13 1121 l. 8-1122 l. 1. Williams, 895 F.3d at 1130-32 (rejecting argument that co-
                 14 owner of a copyright in an infringing work is per se liable as a matter of law).
                 15 Again, Plaintiffs did not assert a vicarious liability claim and presented no
                 16 evidence to support such a claim. Supra notes 15, 31 & 35.
                 17 III.    AS A MATTER OF LAW, PLAINTIFFS FAILED TO REBUT
                 18         DEFENDANTS’ PROOF OF APPORTIONMENT
                 19         To recover a percentage of Defendants’ profits, Plaintiffs had the burden to
                 20 prove Defendants’ gross revenue attributable to the infringement. 17 U.S.C.
                 21 § 504(b). The Ninth Circuit takes “the statute’s general reference to ‘gross
                 22 revenue’ to mean the gross revenue associated with the infringement, as opposed to
                 23 the infringer’s overall gross sales resulting from all streams of revenue.” Polar
                 24 Bear Prods., Inc. v. Timex Corp., 384 F.3d 700, 711 n.8 (9th Cir. 2004) (citing
                 25 Bouchat v. Baltimore Ravens Football Club, 346 F.3d 514, 520-21 (4th Cir.2003)).
                 26
                 27  While Gottwald worked on the underlying instrumental track, the undisputed
                      36

                    evidence at trial was that his contribution thereto related only to elements that are
    Mitchell     28 not alleged to infringe “Joyful Noise.” Id.
  Silberberg &
   Knupp LLP
                                                               45
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 46 of 60 Page ID #:8272



                  1 A “causal link between the infringement and the monetary remedy sought is a
                  2 predicate to recovery of … profits.” Polar Bear, 384 F.3d at 708; see also Dash v.
                  3 Mayweather, 731 F.3d 303, 330 (4th Cir. 2013).37
                  4         If a causal link is established, the defendant has the initial burden to
                  5 demonstrate that some or all of its profits were attributable to factors other than the
                  6 infringement. 17 U.S.C. § 504(b); Mackie, 296 F.3d at 915. If the defendant meets
                  7 its initial burden, then the burden shifts to the plaintiff to show that “at least
                  8 some portion of the revenue was actually generated by the infringement, rather
                  9 than by other factors.” Dash, 731 F.3d at 331.
                 10         At trial, the jury found that 22.5% percent of the net profit earned by each
                 11 Defendant from “Dark Horse” was “attributable to the use of the ‘Joyful Noise’
                 12 musical composition in Ostinato 2 in ‘Dark Horse’ as opposed to other factors.”
                 13 Dkt. 456, Ques. 3. However, this was pure speculation unsupported by evidence.
                 14 Defendants presented the unrebutted testimony of two expert witnesses who
                 15 testified about the insignificance of Ostinato 2 to the commercial success and
                 16 profits of “Dark Horse” and Prism.
                 17         First, with respect to the musicological value of Ostinato 2, Defendants
                 18 offered the unrebutted testimony of Dr. Lawrence Ferrara that the ostinato was
                 19 minimally valuable to “Dark Horse,” both qualitatively and quantitatively. See
                 20 generally, WD, Ex. 9 p. 1474-1485. With respect to his quantitative analysis, Dr.
                 21 Ferrara concluded that Ostinato 2 comprises 7.2% of the total note heads of “Dark
                 22 Horse.” Next, Dr. Ferrara testified that, because the lyrics of “Dark Horse” are not
                 23 at issue, and the lyrics constituted 50% of the music, the 7.2% total must be
                 24
                      37
                 25   Based upon the unrebutted testimony discussed below, Plaintiffs also failed to
                    establish a causal nexus between the claimed infringement and Defendants’ profits.
                 26 Proving such a causal nexus requires the plaintiff to “(1) allege a ‘conceivable
                    connection’ between the infringement and the claimed revenues and (2) offer
                 27 nonspeculative evidence that a causal link exists.” Dash, 731 F.3d at 330; see also
                    Mackie v. Rieser, 296 F.3d 909, 911 (9th Cir. 2002). Plaintiffs failed to proffer any
    Mitchell     28 evidence to rebut Defendants’ evidence regarding any lack of a causal connection.
  Silberberg &
   Knupp LLP
                                                               46
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 47 of 60 Page ID #:8273



                  1 reduced by half. As a result, Dr. Ferrara testified that 3.6% of the combined music
                  2 and lyrics in “Dark Horse” are comprised of the notes in Ostinato 2. Id.; WD, Ex.
                  3 28. Next, Dr. Ferrara performed a qualitative analysis to determine the value of
                  4 this allegedly infringing expression to “Dark Horse” as a whole. Dr. Ferrara
                  5 testified that because Ostinato 2 is not part of the hook (i.e., the most memorable
                  6 part) of “Dark Horse,” this reduced the value of Ostinato 2 in the “Dark Horse”
                  7 composition below 3.6%. WD, Ex. 9 p. 1474-1485.
                  8         Second, Defendants offered the unrebutted testimony of Dr. Jason King. As
                  9 to “Dark Horse,” Dr. King categorized the various factors that drove its success
                 10 and profit. The primary factors were the celebrity star power/branding of Katy
                 11 Perry and Juicy J, as well as marketing efforts. Id. p. 1508 l. 9-24. The secondary
                 12 factors were the “hook” of the song (i.e., the chorus), its vocal performances, its
                 13 instrumental musical elements taken together, and production/arrangement. Id. p.
                 14 1516 l. 22-1521 l. 5. Finally, he testified about the “tertiary factors,” those factors
                 15 that “do[n’t] drive the song in and of itself.” Id. p. 1521 l. 8-1523 l. 17. These
                 16 included the lyrics of the song and individual musical elements. And, as for
                 17 Ostinato 2 specifically, Dr. King testified that, on its own, the ostinato had
                 18 “relatively insignificant value” and that “nobody bought Dark Horse simply
                 19 because of Ostinato No. 2 alone.” Id. p. 1522 l. 14-17. He elaborated that Ostinato
                 20 2 could have been replaced with any number of trap synth parts and it would not
                 21 have changed the success of the song. Id. p. 1522 l. 2-1523 l. 17.
                 22         As to the Prism album, Dr. King testified that the primary factors driving its
                 23 success were Katy Perry’s celebrity star power/branding and the massive
                 24 marketing efforts of Capitol. Id. p. 1523 l. 18-1528 l. 23. He further testified that
                 25 “Dark Horse” was one of 13 or 16 tracks on the album and that if consumers “just
                 26 wanted the single [as opposed to the entire album], they would just buy the single.”
                 27 Id. p. 1524 l. 3-14. “Dark Horse” as a whole (as distinguished from Ostinato 2 in
    Mitchell     28 particular) was a secondary factor contributing to the success of Prism. However,
  Silberberg &
   Knupp LLP
                                                                47
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 48 of 60 Page ID #:8274



                  1 as to Ostinato 2, Dr. King testified that because “Ostinato 2 is just one element of
                  2 Dark Horse,” its value was even more insignificant. Id. p. 1528 l. 24-1529 l. 15.
                  3         The testimony of Dr. Ferrara and Dr. King was uncontroverted. Plaintiffs did
                  4 not present their own experts, or any other apportionment evidence. The jury was
                  5 not permitted to simply ignore Defendants’ evidence and conclude—without
                  6 proof—that Ostinato 2 drove any of the success of “Dark Horse” or Prism. Thus,
                  7 the Court should hold as a matter of law that Defendants failed to rebut Plaintiffs’
                  8 proof of apportionment. See Bouchat, 346 F.3d at 520-21.
                  9 IV.     AS A MATTER OF LAW, THE JURY SHOULD HAVE DEDUCTED
                 10         CAPITOL’S OVERHEAD AND CALCULATED ITS NET PROFIT
                 11         AS TOTALING $629,725
                 12         Finally, if the Court upholds the jury’s finding of a causal nexus and its
                 13 apportionment calculation, as to defendant Capitol Records, no sufficient
                 14 evidentiary basis exists to support the jury’s decision to exclude Capitol’s overhead
                 15 costs in calculating its net profit. As a matter of law, the jury should have deducted
                 16 overhead and calculated Capitol’s net profit as equaling $629,725.
                 17         The Court instructed the jury on how to calculate each Defendant’s net
                 18 profit, that “[a] defendant’s profit is determined by deducting all appropriate
                 19 expenses incurred by that defendant from that defendant’s gross revenue.” Dkt.
                 20 461, Jury Instr. 3. Expenses were defined to include “all appropriate costs,
                 21 including but not necessarily limited to, appropriate operating costs, overhead
                 22 costs, and production costs incurred in producing a defendant’s gross revenue.” Id.
                 23 (emphasis added). This is the law. Kamar Int’l, Inc. v. Russ Berrie & Co., 752 F.2d
                 24 1326, 1333 (9th Cir. 1984); Frank Music Corp. v. Metro-Goldwyn-Mayer, Inc.
                 25 (“Frank Music I”), 772 F.2d 505, 515 (9th Cir. 1985); Burns v. Imagine Films
                 26 Entm’t., Inc., 2001 WL 34059379, at *7 (W.D.N.Y. Aug. 23, 2001).
                 27         At trial, Capitol presented unrebutted and unimpeached evidence of its net
    Mitchell     28 profit through Capitol’s profit & loss statement and the backup thereto.
  Silberberg &
   Knupp LLP
                                                               48
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 49 of 60 Page ID #:8275



                  1 Specifically, it proved that its costs totaled $11,772,912, including $5,103,213 in
                  2 overhead costs. WD, Ex. 30 p. 1762. Based on gross revenues of $12,402,637,
                  3 Capitol proved that its net profit totaled $629,725. Id..
                  4         Simple math makes clear that the jury ignored the Court’s instruction and
                  5 Capitol’s undisputed evidence by not deducting Capitol’s overhead costs in
                  6 calculating Capitol’s net profit. The jury determined Capitol’s net profit to equal
                  7 $5,732,938. Dkt. 456, Ques. 2. Mathematically, the only way to reach this number
                  8 is to conclude that the jury accepted Capitol’s calculation of its gross revenues at
                  9 $12,402,637 and then deducted $6,669,699 (i.e., the non-overhead costs):
                 10 $12,402,637 minus $6,669,699 equals $5,732,938. There was no basis for the jury
                 11 to ignore Capitol’s overhead.
                 12         Defendants established in painstaking detail the existence and amount of
                 13 overhead, as well as how the overhead supported the release and exploitation of
                 14 “Dark Horse” and Prism, through Capitol’s profit & loss statement and the backup
                 15 thereto, as well as through the trial testimony of Capitol’s financial designee,
                 16 Steven Drellishak. See WD, Ex. 30 p. 1762; id. p. 1841-53; & WD, Ex. 9 p. 1428 l.
                 17 14-1435 l. 11, p. 1449 l. 13-21, p. 1450 l. 12-1451 l. 12, p. 1463 l. 23-1467 l. 22.
                 18 More specifically, Drellishak testified about how he calculated overhead,
                 19 explaining that he limited overhead to the 18-month period following the release of
                 20 Prism “when the label was active working the new release [Prism]” (id. p. 1429 l.
                 21 17-25) and to 5.4% of total overhead for those 18 months, a percentage equal to the
                 22 percentage of Capitol’s total sales attributable to Prism and “Dark Horse” (id. p.
                 23 1464 l. 16-1465 l. 14). Drellishak testified what overhead consisted of, explaining
                 24 it “is mainly the people that make up the company and the building and the phone
                 25 lines and everything else required to run the business. And then lastly AFM and
                 26 AFTRA, those are costs that we pay to the musicians unions mainly funding the
                 27 pension plans.” Id. p. 1449 l. 16-21. He also explained why this overhead related to
    Mitchell     28 the exploitation of “Dark Horse” and Prism, noting that a Katy Perry release would
  Silberberg &
   Knupp LLP
                                                               49
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 50 of 60 Page ID #:8276



                  1 have “touched everyone” at the company and that “[a] release like this was a big
                  2 part of the [company’s overall] revenue. If we didn’t have an artist like Katy Perry,
                  3 we wouldn’t have as many people employed. So while not directly … associated
                  4 with a specific release, … if we didn’t have Katy Perry on the roster, Capitol’s
                  5 overhead would be smaller.” Id. p. 1432 l. 14-15, p. 1434 l. 4-11; see also id. p.
                  6 1463 l. 23-1464 l. 11, p. 1467 l. 1-20.
                  7         Plaintiffs, in response, did not present a single document or any witness to
                  8 refute or rebut the facts regarding Capitol’s overhead and its connection to the
                  9 exploitation of “Dark Horse” and Prism, as proven by the profit & loss statement,
                 10 backup, and Drellishak’s testimony. Indeed, although Plaintiffs had identified a
                 11 damages expert, Dr. Michael Einhorn, to rebut Defendants’ proof of costs,
                 12 Plaintiffs ultimately withdrew Dr. Einhorn as a witness at trial at the last minute.
                 13 Defendants presented Dr. Einhorn’s deposition testimony to the jury, in which he
                 14 admitted that Capitol incurred expenses in connection with exploiting “Dark
                 15 Horse” and Prism. WD, Ex. 10 p. 1604 l. 17-1605 l. 21. Thus as a matter of law,
                 16 the jury should have accepted Capitol’s proven overhead costs and deducted it
                 17 from Capitol’s revenue, which would make Capitol’s net profit equal $629,725.
                 18 V.     ALTERNATIVELY, THE COURT SHOULD ORDER A NEW TRIAL38
                 19         A.    Rule 59 New Trial And Remittitur Standard
                 20         Under Fed. R. Civ. P. 59, a new trial may be granted “for any of the reasons
                 21 for which a new trial has heretofore been granted in an action at law in federal
                 22 court.” Fed. R. Civ. P. 59(a)(1). Those reasons include “if the verdict is contrary to
                 23 the clear weight of the evidence, is based upon false or perjurious evidence, or to
                 24 prevent a miscarriage of justice.” Molski v. M.J. Cable, Inc., 481 F.3d 724, 729
                 25 (9th Cir. 2007); see also Lillie, 2019 WL 3387732, at *24 (new trial warranted
                 26
                 27   In the event that the Court grants Defendants’ motion for judgment as a matter of
                      38

                    law under Fed. R. Civ. P. 50(b), Defendants respectfully request that the Court also
    Mitchell     28 conditionally grant its motion for new trial pursuant to Fed. R. Civ. P. 50(c).
  Silberberg &
   Knupp LLP
                                                               50
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 51 of 60 Page ID #:8277



                  1 where “it is quite clear that the jury has reached a seriously erroneous result”)
                  2 (citation omitted). A new trial may also be ordered “when the conduct of counsel
                  3 in argument causes prejudice to the opposing party and unfairly influences a jury’s
                  4 verdict,” Pappas v. Middle Earth Condo Ass’n, 963 F.2d 534, 540 (2d. Cir. 1992),
                  5 or where an expert witness provides “irrelevant and prejudicial” testimony.
                  6 Mahone v. Lehman, 347 F.3d 1170, 1174 (9th Cir. 2003). Ultimately, the district
                  7 court can grant a new trial under Rule 59 on any ground necessary to prevent a
                  8 miscarriage of justice. Experience Hendrix L.L.C. v. Hendrixlicensing.com Ltd,
                  9 762 F.3d 829, 842 (9th Cir. 2014); Fed. R. Civ. P. 59(d).
                 10         “Unlike with a Rule 50 determination, the district court, in considering a
                 11 Rule 59 motion for new trial, is not required to view the trial evidence in the light
                 12 most favorable to the verdict.” Experience Hendrix, 762 F.3d at 842. Rather, the
                 13 Ninth Circuit has emphasized that the district court has “the duty … to weigh the
                 14 evidence as [the court] saw it, and to set aside the verdict of the jury, even though
                 15 supported by substantial evidence, where, in [the court’s] conscientious opinion,
                 16 the verdict is contrary to the clear weight of the evidence.” Molski, 481 F.3d at 729
                 17 (emphasis added). Importantly, “the district court can weigh the evidence, make
                 18 credibility determinations, and grant a new trial for any reason necessary to prevent
                 19 a miscarriage of justice.” Experience Hendrix, 762 F.3d at 841. Moreover,
                 20 “cumulative error in a civil trial may suffice to warrant a new trial even if each
                 21 error standing alone may not be prejudicial.” Jerden v. Amstutz, 430 F.3d 1231,
                 22 1240-41 (9th Cir. 2005) (collecting cases).
                 23         If, on a motion for a new trial, the district court decides that the jury’s
                 24 damages award is excessive, the district court may grant a new trial or deny the
                 25 motion if the prevailing party accepts a remittitur. Fenner v. Dependable Trucking
                 26 Co., Inc., 716 F.2d 598, 603 (9th Cir. 1983). Where a court offers remittitur, the
                 27 jury’s verdict should be reduced to the “maximum amount sustainable by the
    Mitchell     28 proof.” D & S Redi–Mix v. Sierra Redi–Mix & Contracting Co., 692 F.2d 1245,
  Silberberg &
   Knupp LLP
                                                                51
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 52 of 60 Page ID #:8278



                  1 1249 (9th Cir. 1982) (emphasis added). If the prevailing party does not consent to
                  2 the reduced amount, a new trial must be granted. Fenner, 716 F. 2d at 603.
                  3         B.     The Court Should Grant A New Trial On Liability
                  4                1.   The Jury’s Findings Were Against The Clear Weight Of
                                        The Evidence
                  5         If the Court is not inclined to grant judgment as a matter of law, then the
                  6 arguments set forth above apply with even more force under the relaxed Rule 59
                  7 standard and necessitate a new trial. On each element discussed above,
                  8 incorporated again herein by reference, the jury’s findings were wholly contrary to
                  9 the weight of the evidence. Moreover, each defense witness proved entirely
                 10 credible, never once being impeached or contradicted with evidence. By contrast,
                 11 the Plaintiffs were impeached multiple times, including with prior inconsistent
                 12 statements regarding the question of joint authorship. See WD, Ex. 2 p. 208 l. 9-
                 13 210 l. 10; p. 211 l. 5-212 l. 9; p. 214 l. 11-215 l. 6; WD, Ex. 3 p. 358 l. 14-359 l. 9.
                 14 The Court can and should determine that the Defendants’ witnesses offered
                 15 credible testimony, while the Plaintiffs’ witnesses did not. Experience Hendrix,
                 16 762 F.3d at 841 (court may make “credibility determinations” on Rule 59 motion).
                 17
                                 2.    Misconduct By Plaintiffs’ Counsel And Witnesses Also
                 18                    Requires A New Trial.

                 19                      a.    Plaintiffs Offered Improper And Highly Prejudicial
                                               Testimony That Invaded The Province Of The Jury
                 20         An expert musicologist in a copyright case may only offer testimony on the
                 21 objective “extrinsic” test. Smith v. Jackson, 84 F.3d 1213, 1218 (9th Cir. 1996);
                 22 Swirsky, 376 F.3d at 845. The “intrinsic test, which examines an ordinary person’s
                 23 subjective impressions of the similarities between two works, is exclusively the
                 24 province of the jury.” Funky Films, 462 F.3d at 1077; Dkt. 403, p. 32 (precluding
                 25 “Decker from testifying about how the two songs are perceived by lay listeners”).
                 26 Furthermore, it goes without saying that a musicologist cannot give an opinion as
                 27 to the ultimate legal conclusion in a copyright infringement case: whether there
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                52
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 53 of 60 Page ID #:8279



                  1 was copying. Nationwide, 523 F.3d at 1058 (“[A]n expert witness cannot give an
                  2 opinion as to her legal conclusion, i.e., an opinion on an ultimate issue of law.”).
                  3         During Dr. Decker’s testimony, he and Plaintiffs’ counsel flouted these well-
                  4 established rules and violated—repeatedly and despite warnings from the Court—
                  5 multiple evidentiary Orders of the Court. Dr. Decker offered highly improper
                  6 testimony on (1) “musical borrowing,” (2) the intrinsic test, and (3) “striking
                  7 similarity.” This prejudicial testimony warrants a new trial. See, e.g., Mahone, 347
                  8 F.3d at 1174 (ordering new trial on ground that the expert testimony offered by the
                  9 prevailing party at trial was “irrelevant and prejudicial”).
                 10         First, Dr. Decker’s testimony that the “Dark Horse” authors “borrowed” the
                 11 ostinato in “Joyful Noise” was improper, pervasive, and highly prejudicial. Dr.
                 12 Decker began his testimony by defining “musical borrowing.” He was clear that
                 13 “borrowing” means “copying.” WD, Ex. 3 p. 426 l.19-427 l. 15 (“in musical
                 14 borrowing, . . . you consider how a composer took material from another piece and
                 15 used it in their own piece”); id. p. 427 l. 4-11 (“Borrowing means copying in this
                 16 respect.”); id. p. 427 l. 12-15 (Q: “in analyzing different pieces for musical
                 17 borrowing, are you looking to identify whether something is copied?” A: “Yes.”).
                 18 Dr. Decker presented himself as an expert on this subject. Id. p. 426 l. 13-18.
                 19         In response, the Court cautioned Plaintiffs’ counsel that “obviously, we do
                 20 not want [Dr. Decker] to opine on a fact that is to be decided by the jury.” Id. p.
                 21 427 l. 12-22. In spite of this warning, counsel proceeded to draw from Dr. Decker
                 22 testimony that “Dark Horse” borrows from “Joyful Noise.” Id. p. 439 l. 1-10 (Q:
                 23 “Do you think Dark Horse borrows from Joyful Noise?” A: “I do.”) & p. 463 l. 8-
                 24 20 (Q: “[H]ow do these subtle distinctions impact your opinion related to
                 25 whether the authors of Dark Horse borrowed from Joyful Noise?”).
                 26         Following these questions and answers, the Court again cautioned that
                 27 whether something was “borrowed” from “Joyful Noise” “is ambiguous and is a
    Mitchell     28 jury question.” Id. p. 463 l. 18-20. The Court aptly stated that “the question is
  Silberberg &
   Knupp LLP
                                                               53
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 54 of 60 Page ID #:8280



                  1 similarity.” Id. But even after this second admonition, Dr. Decker brazenly argued
                  2 to the jury that his expert opinion was that “Dark Horse is developing materials
                  3 heard in . . . Joyful Noise. . . . [I]t’s working with them. It’s changing them in ways
                  4 . . . that to my ear have evidence for . . . borrowing.” Id. p. 475 l. 17-476 l. 4.
                  5         In response , the Court was compelled to explain to the jury that:
                  6                [T]he difficulty and the reason we have these objections,
                  7                ladies and gentlemen is there is a concern there may be a
                  8                confusion between borrowing and copying. And you’re
                  9                the people who have to decide whether something has
                 10                been copied or not. That’s going to be part of your
                 11                assignment. So we are trying to urge this witness not to
                 12                use the word borrowing even though he’s using it in a
                 13                purely musical sense and he’s not using it in the legal
                 14                sense of copying so that’s why we’re going through this.
                 15 Id. 9. 476 l. 10-19.
                 16         Remarkably, however, Dr. Decker did not stop. After this third warning, he
                 17 testified once again about the reasons he believes there was “musical borrowing”
                 18 in this case. Id. p. 524 l. 1-23.
                 19         Dr. Decker’s impermissible testimony that the “Dark Horse” creators
                 20 “borrowed” from “Joyful Noise” gave the imprimatur of expert credibility as to the
                 21 ultimate fact conclusion reserved for the jury. Perfect 10, Inc. v. Giganews, Inc.,
                 22 2014 WL 10894452, *6 (C.D. Cal. Oct. 31, 2014) (excluding expert testimony that
                 23 was “little more than an attempt to add the gloss of expert opinion to what are, at
                 24 their core, factual questions that the jury must decide on their own”).
                 25         Second, Dr. Decker testified multiple times regarding the subjective
                 26 similarities in the “sound” or “feeling” of the works, improperly invading the
                 27 province of the jury to apply the intrinsic test in blatant violation of the Court’s in
    Mitchell     28 limine Order. Dkt. 403, pp. 31-32. When Plaintiffs’ counsel asked, “for a
  Silberberg &
   Knupp LLP
                                                                54
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 55 of 60 Page ID #:8281



                  1 layperson like me is [the difference in key] something that in your expert opinion
                  2 is a difference that’s recognizable audibly”; Dr. Decker replied, “I would not think
                  3 so. They are quite close. In fact they couldn’t be closer; right?” WD, Ex. 3 p. 460 l.
                  4 23-461 l. 7.
                  5         As with his testimony about musical borrowing, the Court admonished that
                  6 Dr. Decker “can’t give an expert opinion on what the jury has to decide. And if he
                  7 persists in doing that and if this continues, we will remove him from the stand.”
                  8 Id. p. 461 l. 12-15. But, again, Dr. Decker did not stop; instead, he told the jury that
                  9 the subjective aural similarities between the works were central to his analysis:
                 10                the insistence in both pieces that you feel on the
                 11                repetition of this melody. You hear it -- of this ostinato.
                 12                You hear it over and over again. So that the, um, the
                 13                piece itself, you know, the repetition also draws attention
                 14                to the similarity.
                 15 Id. p. 524 l. 17-21 (emphasis added).
                 16         This is, without a doubt, an impermissible opinion on the intrinsic test; i.e.,
                 17 “whether an ordinary, reasonable person would find the total concept and feel of
                 18 ‘Joyful Noise’ and “Dark Horse’ are substantially similar in original, protectable
                 19 expression.” Dkt. 441, Jury Instr. 37. But Dr. Decker is not an “ordinary,
                 20 reasonable person” in the context of musical analysis. Id. He is a trained
                 21 musicologist with a Ph.D. from “a top musicology program specifically for the
                 22 study of American music,” who hears things that the ordinary listener would not.
                 23 WD, Ex. 3 p. 425 l. 3-11. His subjective impressions of the works are irrelevant
                 24 and barred as a matter of law. The jury nonetheless heard them, and this was
                 25 plainly prejudicial to Defendants.
                 26         Third, in direct contravention of the Court’s order precluding him from
                 27 opining that the works were “strikingly similar” (Dkt. 403, pp. 5-6), Dr. Decker
    Mitchell     28 testified no less than three times that the works bore “striking” similarity. See WD,
  Silberberg &
   Knupp LLP
                                                               55
11495919.1
                          MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 56 of 60 Page ID #:8282



                  1 Ex. 3 p. 450 l. 18-23 (the fact that both ostinatos “step down to 2” “is striking”), p.
                  2 454 l. 10-18 (similarities in texture are “striking”) & p. 456 l. 7-11 (same).
                  3         The intent behind these statements was evident. Although he never uttered
                  4 the phrase “striking similarity” in two voluminous expert reports, he suddenly
                  5 could not stop himself from doing so at trial. Particularly combined with Dr.
                  6 Decker’s testimony regarding “borrowing” and the intrinsic “feel” of the works,
                  7 the multiple references to “striking” prejudiced the Defendants by creating an
                  8 inference that the works are so similar that the Plaintiffs did not need to prove
                  9 access. That is precisely testimony which the Court ruled was impermissible, and it
                 10 was given in violation of the Court’s Order. Dkt. 403, pp. 5-6.
                 11         Dr. Decker’s many improper statements undoubtedly confused and misled
                 12 the jury. See WD, Ex. 3 p. 466 l. 25 (The Court: “This is a confused jury at this
                 13 stage.”). This testimony was not harmless; it bore directly on the key elements of
                 14 the Plaintiffs’ claims. Accordingly, a new trial should be granted.
                 15                     b.     Plaintiffs’ Counsel Made Highly Prejudicial
                                               Assertions During His Closing Arguments
                 16
                            During his closing arguments, Plaintiffs’ counsel made repeated assertions
                 17
                      that Plaintiffs were not, and would not be, challenging: (a) Defendants’ right to
                 18
                      exploit “Dark Horse” after the trial, or (b) Defendants’ right to keep 100% of the
                 19
                      revenue and profit resulting from that subsequent exploitation.
                 20
                         • During his closing in the liability phase of the trial, Mr. Kahn stated that
                 21
                            “after this trial is over, the defendants will continue on. They’ll be able to
                 22
                            exploit Dark Horse in a wide variety. They’ll be able to keep selling the
                 23
                            album. They’ll be able to keep doing other stuff with the song. This is the
                 24
                            plaintiffs[’] one and only opportunity to seek some measure of justice and
                 25
                            we are asking you for that justice.” WD, Ex. 6 p. 1205 l. 5-11.
                 26
                         • During his closing in the damages phase, he reiterated that “today is the
                 27
                            plaintiffs’ last day for justice. Tomorrow, next week, next month, next year,
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                56
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 57 of 60 Page ID #:8283



                  1           the defendants will be able to continue to exploit and make money from
                  2           Dark Horse and they’ll be keeping 100 percent of the profits for every day
                  3           after today. So this is the one day for these plaintiffs.” WD, Ex. 10 p. 1588 l.
                  4           11-15.
                  5        • Later in that closing, he stated that “beginning tomorrow, [Defendants] will
                  6           keep a hundred percent of their profits going forward.” Id. p. 1597 l. 15-16.
                  7        • Finally, in rebuttal, he again repeated that Defendants “[will] get to keep a
                  8           hundred percent of the profits going forward.” Id. p. 1618 l. 2-3.
                  9           Plaintiffs’ highly prejudicial and improper assertions, cited above, were also
                 10 apparently false. On September 5, 2019, Defendants’ counsel sent an email to Mr.
                 11 Kahn, asking him to confirm that Plaintiffs would not be challenging or seeking
                 12 damages for Defendants’ exploitations of “Dark Horse” on a going-forward basis,
                 13 given his representations to the jury during closing arguments. Mr. Kahn then said
                 14 the opposite: “I acknowledge those statements. However, we reserve all rights and
                 15 claims regarding damages.” WD, Ex. 37 (emphasis added).39
                 16           Plaintiffs’ statements that Defendants would be entitled to exploit “Dark
                 17 Horse” on a going-forward basis, and retain all of their profits from same, were
                 18 completely illegitimate and irrelevant. By his message, however, Plaintiffs’
                 19 counsel improperly sought to convince the jurors to look beyond the evidence, and
                 20 render a verdict as “[P]laintiffs’ last day for justice.” In doing so, counsel
                 21 improperly and falsely contended Defendants would not be financially harmed.
                 22 These comments also violate the Court’s ruling that the comparative wealth of the
                 23 parties should not be adduced. See Dkt. 403, pp. 19-20.
                 24           A new trial is warranted based on these improper statements. See generally
                 25 Anheuser-Busch, Inc. v. Natural Beverage Distributors, 69 F.3d 337, 346 (9th Cir.
                 26
                      39
                 27   Notwithstanding this belated “reservation of rights,” any attempt by Plaintiffs to
                    assert a new claim for infringement or seek relief for subsequent exploitations of
    Mitchell     28 “Dark Horse” would fail based upon, inter alia, principles of waiver and estoppel.
  Silberberg &
   Knupp LLP
                                                                 57
11495919.1
                            MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 58 of 60 Page ID #:8284



                  1 1995). Notably, courts routinely overturn jury verdicts in civil cases when the
                  2 plaintiff’s counsel truthfully introduces extraneous and improper facts such as, for
                  3 example, saying that a damages verdict would be paid by a third-party insurance
                  4 company. Courts recognize this prejudicial commentary invites the jury to award
                  5 substantial damages on the irrelevant basis that doing so will not actually cause
                  6 financial harm to the defendant. See, e.g., Ventura v. Kyle, 825 F.3d 876, 886 (8th
                  7 Cir. 2016) (“it was utterly repugnant to a fair trial or … a just verdict for the jury to
                  8 hear that the damages sued for ... will be taken care of by an insurance …
                  9 company”) (citation omitted); City of Cleveland v. Peter Kiewit Sons’ Co., 624
                 10 F.2d 749, 758 (6th Cir. 1980) (it is “well settled” that introducing “the fact that a
                 11 defendant in a tort action is protected by liability insurance, is prejudicial error and
                 12 grounds for a mistrial”) (citations omitted). Here, Plaintiffs’ statements to the jury
                 13 that an adverse verdict would not financially harm the Defendants were even more
                 14 egregious and prejudicial than the statements in the above-cited cases, because
                 15 Plaintiffs’ counsel states they were not even truthful. A new trial is warranted.
                 16         C.     The Court Should Remit The Amount Of The Damages Award
                 17         If the Court reaches the jury’s damage award, it should find that the award is
                 18 contrary to the clear weight of authority and excessive for two reasons.
                 19         First, as discussed above, as to Capitol, because Capitol proved its overhead
                 20 costs through unrebutted documents and testimony, the jury should have deducted
                 21 overhead and calculated Capitol’s profit as totaling $629,725.
                 22         Second, as discussed above, the percentage of each Defendant’s profit that
                 23 the jury awarded was excessive and lacking any basis in fact. Supra § III. Even if
                 24 the Court concludes that some percentage of Defendants’ profit is attributable to
                 25 the use of the “Joyful Noise” musical composition in Ostinato 2 in “Dark Horse”
                 26 as opposed to other factors, nothing supports this percentage equaling 22.5%.
                 27 Defendants satisfied their burden of proving that profits were attributable to factors
    Mitchell     28 other than the use of “Joyful Noise” in Ostinato 2. While Defendants bore the
  Silberberg &
   Knupp LLP
                                                                58
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 59 of 60 Page ID #:8285



                  1 initial burden to apportion, Defendants were not required to prove to a
                  2 mathematical certainty the profits that are attributable to other factors—Defendants
                  3 need only provide a rational division. See Sheldon v. Metro-Goldwyn Pictures
                  4 Corp., 309 U.S. 390, 408-09 (1940); Frank Music I, 772 F.2d at 518; Cream
                  5 Records Inc. v. Jos. Schlitz Brewing Co., 754 F.2d 826, 829 (9th Cir. 1985); Frank
                  6 Music Corp. v. Metro-Goldwyn-Mayer, Inc. (“Frank Music II”), 886 F.2d 1545,
                  7 1549 (9th Cir. 1989). Defendants satisfied their burden and, as discussed above,
                  8 proved that other factors drove the success of “Dark Horse.” Supra § III. Plaintiffs,
                  9 in turn, presented no evidence; instead, Plaintiffs’ counsel’s simply argued—
                 10 without a scintilla of evidence by expert testimony or otherwise—that Ostinato 2
                 11 appears in 45% of “Dark Horse,” thereby entitling Plaintiffs to 45% of Defendants’
                 12 profits. Simple math shows that Plaintiffs divided this 45% figure by two to reach
                 13 their arbitrary 22.5%.
                 14         No evidence or logic supports this allocation. It is made up. Dr. Ferrara
                 15 testified without contradiction that, quantitatively, only 3.6% of the combined
                 16 music and lyrics in “Dark Horse” are comprised of the notes in Ostinato 2 and that
                 17 the qualitative value of Ostinato 2 is even less. Dr. King, in turn, testified without
                 18 contradiction that numerous other primary and secondary factors drove the success
                 19 of “Dark Horse” and that Ostinato 2 was a relatively insignificant tertiary factor.
                 20 Accordingly, the Court should remit the amount of damages sharply downward.
                 21 VI.     CONCLUSION
                 22         WHEREFORE, Defendants respectfully request that the Court grant the
                 23 relief sought here pursuant to Rule 50(b) or, alternatively, Rule 59.
                 24
                 25
                 26
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                               59
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
         Case 2:15-cv-05642-CAS-JC Document 485 Filed 10/09/19 Page 60 of 60 Page ID #:8286



                  1 DATED: October 9, 2019                  MITCHELL SILBERBERG & KNUPP LLP
                  2
                                                            By: /s/ Aaron M. Wais
                  3                                         Aaron M. Wais (SBN 250671)
                                                            Attorneys for Defendants Capitol Records,
                  4
                                                            LLC, Jordan Houston, Lukasz Gottwald,
                  5                                         Sarah Theresa Hudson, Karl Martin Sandberg,
                  6                                         Henry Russell Walter, WB Music Corp.,
                                                            Kobalt Music Publishing America, Inc., and
                  7                                         Kasz Money, Inc.
                  8 DATED: October 9, 2019                  GREENBERG TRAURIG, LLP
                  9
                                                            By: /s/ Vincent H. Chieffo
                 10
                                                            Vincent H. Chieffo (SBN 49069)
                 11                                         Attorneys for Defendants Katheryn Elizabeth
                                                            Hudson p/k/a Katy Perry
                 12
                 13                   ATTESTATION REGARDING SIGNATURES
                 14         Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that all Parties,
                 15 on whose behalf this filing is jointly submitted, concur in this filing’s content and
                 16 have authorized its filing.
                 17
                      DATED: October 9, 2019                 /s/ Aaron M. Wais
                 18                                          Aaron M. Wais
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                60
11495919.1
                           MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR JMOL OR NEW TRIAL
